Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 1 of 111

Warren J. Stapleton, AZ 018646
Joseph Roth, AZ 025725
Travis C. Hunt AZ 035491

Osborn Maledon PA T COURT
TED STATES DISTRIC

2929 N. Central Avenue, Suite 2100 See DENVER, COLORADO

Phoenix, AZ 85012-2794 JAN 17 2020

Tel: (602) 640-9000
Fax: (602) 640-9050
wstapleton@omlaw.com

jroth@omlaw.com

thunt@omlaw.com
Attorneys for Receiver Kimberly Friday

JULWELL
JEFFREY P. LU NE RK

_

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

 

Federal Trade Commission,

Plaintiff,

Vv.

James D. Noland, Jr., a/k/a Jay Noland and J.D.
Noland, individually and as an officer of Success By
Media Holdings Inc. and Success By Media LLC;

Lina Noland, individually and as an officer of Success
by Media Holdings Inc. and Success By Media LLC;

Scott A. Harris, individually and as an officer of
Success By Media LLC;

Thomas G. Sacca, Jr., individually and as an officer of
Success By Media LLC;

Success By Media Holdings Inc., a corporation, also
d/b/a Success By Health and Success By Media; and

Success By Media LLC, a limited liability company,
also d/b/a Success By Health and Success By Media

Defendants.

 

 

Case No.

NOTICE OF ORDER
APPOINTING RECEIVER
PURSUANT TO 28 U.S.C. § 754

U.S. District Court
District of Arizona

Case No. CV 20-00047-PHX-DWL
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 2 of 111

On January 8, 2020, the Federal Trade Commission filed a complaint against
Defendants in the United States District Court for the District of Arizona. Attached
hereto as Exhibit A is a true and correct copy of the Complaint. Court-Appointed
Receiver, Kimberly Friday, by and through undersigned counsel, hereby provides notice
pursuant to 28 U.S.C. § 754, that on January 13, 2020, the Court entered a Temporary
Restraining Order (the “TRO”) as to Defendants James D. Noland, Jr., a/k/a Jay Noland
and J.D. Noland, Lina Noland, Scott A. Harris, Thomas G. Sacca, Jr., Success By Media
Holdings Inc., a corporation, also d/b/a Success By Health and Success By Media; and
Success By Media LLC, a limited liability company, also d/b/a Success By Health and
Success By Media (collectively the “Receivership Defendants”). In conjunction with the
entry of the TRO, the Court appointed Ms. Friday as Receiver over the Receivership
Defendants as identified in the TRO at pages 16-21. A true and correct copy of the TRO
is attached hereto as Exhibit B.

DATED this 16th day of January, 2020.

OSBORN MALEDON, P.A.

    

Warren J. Starh
Joseph N. Roth

Travis C. Hunt

2929 North Central Avenue, Suite 2100
Phoenix, Arizona 85012-2793

Attorneys for Receiver Kimberly Friday
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 3 of 111

EXHIBIT A
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 4 of 111

ALDEN F. ABBOTT
General Counsel

EVAN M. MENDELSON, DC Bar No. 996765
JONATHAN W. WARE, DC Bar No. 989414
Federal Trade Commission

600 Pennsylvania Avenue NW, CC-9528
Washington, DC 20580

(202) 326-3320; emendelson@ftc.gov (Mendelson)
(202) 326-2726; jwarel @ftc.gov (Ware)

Attorneys for Plaintiff Federal Trade Commission

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

Federal Trade Commission,

Plaintiff,
V.
Case No.
James D. Noland, Jr., a/k/a Jay Noland and J.D. ase
Noland, individually and as an officer of Success By
Media Holdings Inc. and Success By Media LLC; COMPLAINT FOR
PERMANENT

Lina Noland, individually and as an officer of Success
° INJUNCTION AND
by Media Holdings Inc. and Success By Media LLC;

 

OTHER EQUITABLE
Scott A. Harris, individually and as an officer of RELIEF
Success By Media LLC;
DOCUMENT SUBMITTED
Thomas G. Sacca, Jr., individually and as an officer of | UNDER SEAL
Success By Media LLC;

Success By Media Holdings Inc., a corporation, also
d/b/a Success By Health and Success By Media; and

Success By Media LLC, a limited liability company,
also d/b/a Success By Health and Success By Media,

Defendants.

 

 

Page 1 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 5 of 111°

Plaintiff, the Federal Trade Commission (“FTC” or “Commission’”), for its
Complaint alleges:

1. The FTC brings this action under Sections 13(b) and 19 of the Federal
Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b), 57b; the Mail, Internet, or
Telephone Order Merchandise Rule (“Merchandise Rule”), 16 C.F.R. Part 435; and the
Rule Concerning Cooling-Off Period for Sales Made at Homes or at Certain Other
Locations (“Cooling-Off Rule”), 16 C.F.R. Part 429, to obtain temporary, preliminary,
and permanent injunctive relief, rescission or reformation of contracts, restitution, the
refund of monies paid, disgorgement of ill-gotten monies, and other equitable relief for
Defendants’ acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.
§ 45(a), and in violation of the Merchandise Rule and the Cooling-Off Rule. -

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
1337(a), and 1345, and 15 U.S.C. §§ 57b.

3. Venue is proper in this district under 28 U.S.C. § 1391(b)(2-3) and 15
U.S.C. § 53(b).

PLAINTIFF

4. The FTC is an independent agency of the United States Government
created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act,
15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or affecting
commerce. The FTC also enforces the Merchandise Rule, 16 C.F.R. Part 435, which

requires mail-, Internet-, or phone-based sellers to have a reasonable basis for advertised

Page 2 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 6 of 111

shipping times, and, when sellers cannot meet promised shipping times or ship within 30
days, to obtain the buyer’s consent for a delay or provide a refund. The FTC also
enforces the Cooling-Off Rule, 16 C.F.R. Part 429, which requires sellers of certain
goods or services at places other than the seller’s place of business to notify purchasers of
their right to cancel the transaction within three business days.

5. The FTC is authorized to initiate federal district court proceedings, by its
own attorneys, to enjoin violations of the FTC Act, the Merchandise Rule, and the
Cooling-Off Rule, and to secure such equitable relief as may be appropriate in each case,
including rescission or reformation of contracts, restitution, the refund of monies paid,
and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 57b; 16 C.F.R. Part 435;
16 C.F.R. Part 429.

DEFENDANTS

6. Defendant Success By Media Holdings Inc. (“SBM Holdings”), also doing
business as Success By Health (“SBH”) and Success By Media, is a Nevada corporation
with its principal place of business at 2875 Saint Rose Parkway, Suite 100, Henderson,
NV 89052. SBM Holdings transacts or has transacted business in this District and
throughout the United States. SBH is or was an unincorporated division of SBM
Holdings.

7. Defendant Success By Media LLC (“Success By Media”), also doing
business as SBH and Success By Media, is a Nevada limited liability company with its
principal place of business at 2875 Saint Rose Parkway, Suite 100, Henderson, NV

89052. Success By Media transacts or has transacted business in this District and

Page 3 of 41
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 7 of 111

throughout the United States. Success By Media is a wholly owned subsidiary of SBM
Holdings. SBH is or was an unincorporated division of Success By Media.

8. Defendant James D. Noland, Jr. (“Jay Noland”), also known as Jay Noland
and J.D. Noland, is an owner, director, chief executive officer, president, and treasurer of
SBM Holdings. He also is a manager and chief executive officer, and previously was an
owner, of Success By Media and the founder and chief executive officer of SBH. At all
times material to this Complaint, acting alone or in concert with others, he has
formulated, directed, controlled, had the authority to control, or participated in the acts
and practices of Success By Media, SBM Holdings, and SBH, including the acts and
practices set forth in this Complaint. Defendant Jay Noland, in connection with the
matters alleged herein, transacts or has transacted business in this District and throughout
the United States.

9. Defendant Lina Noland (together with Jay Noland, the “Nolands”) is an
owner, officer, director, and corporate secretary of SBM Holdings. She also is a
manager, and previously was an owner, of Success By Media. At all times material to
this Complaint, acting alone or in concert with others, she has formulated, directed,
controlled, had the authority to control, or participated in the acts and practices of
Success By Media, SBH Holdings, and SBH, including the acts and practices set forth in
this Complaint. Defendant Lina Noland, in connection with the matters alleged herein,
transacts or has transacted business in this District and throughout the United States.

10. Defendant Scott A. Harris (“Harris”) is the president and an officer, and

previously was a senior field advisor, of Success By Media and SBH. At all times

Page 4 of 41
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 8 of 111

material to this Complaint, acting alone or in concert with others, he has formulated,
directed, controlled, had the authority to control, or participated in the acts and practices
of Success By Media and SBH, including the acts and practices set forth in this
Complaint. Defendant Harris, in connection with the matters alleged herein, transacts or
has transacted business in this District and throughout the United States.

11. Defendant Thomas G. Sacca, Jr. (“Sacca”) is the chief visionary officer,
and was previously the chief sales officer and a senior field advisor, of Success By Media
and SBH. At all times material to this Complaint, acting alone or in concert with others,
he has formulated, directed, controlled, had the authority to control, or participated in the
acts and practices of Success By Media and SBH, including the acts and practices set
forth in this Complaint. Defendant Sacca, in connection with the matters alleged herein,
transacts or has transacted business in this District and throughout the United States.

COMMON ENTERPRISE

12. | Defendants SBM Holdings and Success By Media (collectively, “SBM
Defendants”) have operated as a common enterprise while engaging in the unlawful acts
and practices described below. SBM Defendants have conducted the business described
below through both SBM Holdings and Success By Media, which have or had common
ownership, officers, managers, business functions, and office locations. Because the
SBM Defendants have operated as a common enterprise, each of them is jointly and
severally liable for the acts and practices alleged below.

13. Defendants Jay Noland, Lina Noland, Harris, and Sacca had knowledge of,

and have formulated, directed, controlled, had the authority to control, or participated in,

Page 5 of 41
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 9 of 111

the acts and practices of the SBM Defendants that constitute the common enterprise.
According to Harris, the Nolands were involved in product development, website
development, sales, overseeing management, and “pretty much everything you see. ...
Mr. Noland and his wife Lina Noland, they’ ve got, they’re all, they’re all involved in all
of it.”
COMMERCE

14. At all times material to this Complaint, Defendants have maintained a
substantial course of trade in or affecting commerce, as “commerce” is defined in Section
4 of the FTC Act, 15 U.S.C. § 44.

DEFENDANTS’ BUSINESS ACTIVITIES
Overview

15. SBM Defendants’ unincorporated SBH division distributes coffee, tea, and
dietary supplements through a network of independent distributors called “Affiliates.”

16. | Toconvince consumers to enroll as Affiliates, Defendants claim that
Affiliates likely can replace their job income in six months and become financially free
(and never have to work again) in 18 months by working hard and following Defendants’
instructions.

17. These claims are false, and, in reality, Defendants have been operating a
pyramid scheme since SBH’s inception in or about July 2017. Most SBH Affiliates have
lost money in the program. SBH’s commission plan emphasizes and incentivizes

recruiting new Affiliates over selling products to ultimate users or consumers outside of

Page 6 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 10 of 111

the organization. SBH’s business practices also make it unlikely that Affiliates can
meaningfully earn money by selling products to outside customers.

18. In many instances, Defendants fail to timely ship products to Affiliates and
other consumers who place product orders. When those consumers complain to the
company, seek a refund from the company, or seek a chargeback through their credit card
company, Defendants respond with threats and lawsuits.

19. | Defendants also host SBH and Success by Media events at hotels and
additional locations other than their place of business. At those sometimes-mandatory
events, Defendants use high-pressure sales tactics to force Affiliates to buy expensive
consumer goods and services, including SBH products and tickets to future training
events, without informing Affiliates of their legal right to cancel those transactions.

The SBH Marketing Scheme

20. | Consumers pay an annual membership fee of $49 to become SBH
Affiliates, making them eligible to sell SBH products and receive rewards for doing so.

21. Each SBH Affiliate receives a distinct URL that directs consumers to the
Affiliate’s SBH website, a duplicate of the main SBH website. Product purchases made
on either the Affiliate’s copy of the SBH website (the “Affiliate Website”) or on the main
SBH website are handled identically—SBH receives the proceeds of the transaction and
is responsible for fulfilling and shipping the order. Purchases made by Affiliates or non-
Affiliates on an Affiliate Website, including purchases made by the Affiliate himself or

herself, result in the Affiliate receiving credit for the sale toward commissions.

Page 7 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 11 of 111

22. | Any member of the public can buy SBH products from the company’s
website, or an Affiliate Website, at the same “wholesale” price that SBH offers to
Affiliates. SBH sets the pricing both on its website and on the Affiliate Websites.
Affiliates do not have the ability to offer different prices on the internet.

23. Only SBH Affiliates are eligible to recruit a “downline” of additional SBH
Affiliates and to earn commissions and other rewards based on purchases made through
their own or their downline’s Affiliate Websites.

24. Inpractice, because SBH requires Affiliates to accrue $20 in commission
before they can receive a payout and because SBH commissions generally do not exceed
10% of the purchase amount, an Affiliate or his or her downline must purchase, or
generate purchases of, at least $200 from SBH before the Affiliate can receive any
commission.

25. Affiliates only become eligible for certain rewards by increasing their SBH
“rank.” The current 11 ranks range from “Business Affiliate” (“BA”), which requires
$5,000 in monthly purchase volume from the Affiliate and the Affiliate’s downline, to “5
Star Diamond,” which requires $1.25 million in monthly purchase volume from the
Affiliate and the Affiliate’s downline. To qualify for each rank, no more than 50% of the
Affiliate’s qualifying purchase volume can come from a single downline Affiliate or that
Affiliate’s own downline.

26. If Affiliates lack the downline volume to meet the monthly purchase
volume requirements, they can personally purchase products to make up the difference

and qualify for new rewards.

Page 8 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 12 of 111

27. Each Affiliate’s rank resets every month. Therefore, to maintain his or her
rank, an Affiliate must consistently meet the relevant purchase thresholds.

28. In addition to other forms of compensation, Affiliates earn percentage-
based commissions on total sales volume at various “tiers” within their downlines. “Tier
0” is the Affiliate himself or herself. “Tier 1” is recruits of the Tier 0 Affiliate. “Tier 2”
is the Tier 1 Affiliates’ recruits, “Tier 3” is the Tier 2 Affiliates’ recruits, and so on.

29. The percentage-based commissions that an Affiliate earns depend on two
variables: the Affiliate’s rank and the tier at which purchases occurred. As an Affiliate’s
rank increases, the Affiliate can access commissions at additional tiers and increase the
applicable commission percentage at each tier. The table below, from SBH’s marketing

materials, provides the percentage commissions by rank and tier:

 

 

 

 

 

 

 

 

 

 

 

 

 

Tas ARETAIL Ds eeciaté f sis | pismiess prsmess arenes sumoss _ISTAR astan 35TAR aSTAR } 5 Stan,
CUSTOMER | +. . AFFILIATE AFFILIATE 1 AFFIUATE2 AFFILIATE AFFILIATE 4, DIAMOND 3] DIAMOND; CLAMOND DIAMOND } DUAMOND

TSS co Tea sana Bal sa [om tf me ate Po YT

10% :
TEL TI im 10% ws am (RT Ts |
Cae wml OCR eee
—— a reo a % « Casearae tt <Ic se
—— Ew elk CRN RIE
= " " me. an ™% x [ox aloes eee

 

30. | Under this plan, a hypothetical Affiliate, “Joe,” with a rank of Super
Business Affiliate 1 (“‘“SBA1”) earns 10% commission on purchases made by Joe and by
Joe’s “Tier 1” members—those Affiliates that Joe recruited personally. Joe also earns
10% commission on orders placed through his or his Tier 1 members’ Affiliate Websites.
Joe earns 6% on Tier 2 purchases, 4% on Tier 3 purchases, 3% on Tier 4 purchases, and

2% on Tier 5 purchases. An Affiliate without any elevated rank, by contrast, earns 8%

Page 9 of 41
~ Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 13 of 111

commission on Tier 1 sales, 2% on Tier 2, 1% on Tier 3, and no commission on Tiers 4
and 5.

31. | Defendants also pay various bonuses based on recruiting new Affiliates
who purchase $500 or $1,995 “product packs” upon enrollment. For example,
Defendants’ “5x5 bonus” paid cash bonuses of up to $10,000 for recruiting five new
Affiliates, each of whom purchased a product pack and recruited five new Affiliates who
also purchased product packs.

32. Achieving SBA1 status—and gaining access to all five tiers of commission,
in addition to other bonuses and rewards—requires an Affiliate and that Affiliate’s
downline to purchase, or have others purchase through one of their Affiliate Websites,
$15,000 in products in one month.

33. | Jay Noland, Lina Noland, Harris, and Sacca all participated in developing
or revising SBH’s commission plan for Affiliate compensation.

34. SBH’s flagship product is its “MycoCafé” brand of instant coffee, which
Defendants attempt to differentiate from other coffees by touting the inclusion of
“sanoderma,” a mushroom that Defendants call the “king of herbs” for its myriad
purported health benefits.

35. SBH is ina self-proclaimed “build-out” stage. The company’s recruiting
and marketing materials explain, using the visual below or other materials, that SBH
plans to capture 1% of the world coffee market in 5-7 years, which will result in $24

billion in annual revenues.

Page 10 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 14 of 111

a eT TN pane - annem ana pe panna ae es enn eniiinininanioni
OR Nias. . . ~ayh '
7 Mie ’ , Kb charting fi
Kia AN coffee first plan
LP WORLDWIDE
"5 YEAR GOAL:
IGA, ona BilthonmAaities
Tee : -

ra
_ ae Pt Morn
63 dating a pw Seo
amy } De2seMimAnnles —
ye |e fi J With Success By Health doing $24 Billion

 
 
  
  

 

 

 

 

      

 

Rag el TON is 5d in annual sales, that means up to $12

ney yeah Billion is being pald in commissions to.
- our affiliates. par year

 
    

 

 

 

 

36. Over two years into SBH’s 5-7 year plan, its annual revenues have yet to
exceed $5 million.

37. From July 2017 through June 2019, more than 500 consumers in this
District made more than 1,900 purchases from Defendants, totaling more than $460,000.

Defendants’ False Income and Lifestyle Claims

 

38. Defendants promote their scheme through videos and presentations on the
SBH website; in materials provided to Affiliates for recruiting purposes; on videos and
statements posted to an Affiliates-only Facebook group that is administered exclusively
by the Nolands; on daily “SBH Heat” conference calls for SBH Affiliates; and during in-
person training and recruiting sessions.

39. In these settings, Defendants lure consumers into SBH, and encourage
aggressive purchasing by already-enrolled consumers, with claims that SBH provides a

life-changing financial solution.

Page 11 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 15 of 111

40. Defendants Jay Noland, Lina Noland, Harris, and Sacca have all promoted
recruitment and continued participation in SBH.

41. Defendants frequently tell consumers that they likely will replace their job
income within six months and obtain “financial freedom” within 18 months if they work
hard and follow Defendants’ instructions.

a. Jay Noland told SBH Affiliates that, by following his instructions for
six months, you “can have a reasonable expectation that you would have replaced
your income if you were results-oriented and focused.”

b. On one SBH Affiliate conference call, Jay Noland explained that
“replacing your income at your job in six months or less . . . really starts with just

thinking right,” as depicted in the following SBH advertisement:

 

 

 

 

 

 

c. Jay Noland also told SBH Affiliates that if they “just applied [his

system], without fail, you should be able to be financially free in 18 months.”

Page 12 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 16 of 111

d. In a video posted to Facebook in March 2018, Jay Noland told SBH

Affiliates that some of them “by the end of this year [would] never, ever have to

work again.”

e. Sacca told SBH Affiliates that if “we’re out there busting this thing
for 12 to 18 months, it’s going to give us a lifetime of freedom.”

42. Inmultiple scripts provided to Affiliates for recruiting purposes,
Defendants claim that “several people” are “achieving Financial Freedom already with
our company.”

43. Defendants also frequently tell SBH Affiliates and recruits that Jay Noland
is the “Millionaire Maker” and has trained many millionaires in past multilevel marketing
programs. Defendants explain that Noland is applying the same lessons in SBH, thereby
offering Affiliates an opportunity to become “coffee millionaires.”

a. Success By Media’s website refers to Jay Noland as the “millionaire
maker.”
b. Jay Noland calls many of his Facebook videos for SBH Affiliates

“Millionaire Mentorship” trainings.

c. On one Millionaire Mentorship training, Jay Noland declared that he
would create “1,000 millionaires” through SBH.

d. In another Millionaire Mentorship training, Jay Noland said that he
was training people to make “$1 million per year” “forever.” He then asked,

“Who in the hell would have the audacity to talk about that type of money?,”

Page 13 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 17 of 111

before proceeding to claim that he could train Affiliates to make $1 million “year

after year whether you work or not.”

e. Harris told SBH Affiliates that he had “watched [Jay Noland],
through the years, build way too many millionaires and multi-millionaires, go out
and do billions in volume.”

f. Harris also told Affiliates, “All that matters is are you out there
building it the way that Mr. Noland teaches us to build it? And if you are, the
rewards are gonna come no matter what, that’s the way I feel about it.”

g. SBH’s director of sales told Affiliates on a company conference call
that they could be “financially free and be making a five-figure income possibly
on a monthly basis residually.” He continued, “This is not a theoretical example.
It’s fact. I’m just talking about what’s happened in the past and the people that
Mr. Noland has worked with, trained, and taught and the companies that he’s
developed. And what’s happening with Success By Health is like no other.”

44. Defendants encourage Affiliates to sign a “Million Dollar Contract.” In
that “contract,” Affiliates agree that they are “100% committed to my goals and dreams”
and that “[f]or the next 18 months I’m willing to do whatever it takes to make my dreams
areality.” Affiliates then commit to maintain a $500 monthly auto-order from the
company for at least 18 months, to attend “all SBH Corporate trainings and events no
matter what,” and to “ask at least 4 people a day to join my business at least 5 days a

week for at least 18 months,” among other things.

Page 14 of 41
~ Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 18 of 111

45. Referencing SBH’s goal of $24 billion in annual revenues in 5-7 years,
described in paragraph 35 above, Defendants claim that Affiliates’ fortune will come
from a pool of $12 billion in anticipated annual payouts to Affiliates. Defendants base
that $12 billion projection on, among other things, their claim that SBH shares
approximately 50% of its revenues with Affiliates. Defendants highlight the $12 billion
figure in recruiting materials and promotional videos featuring Jay Noland with the

following images:

94.2 Billion

PAY QUT

 

46. Defendants also tout Affiliates’ potential to earn unlimited income.

a. One SBH training document tells Affiliates that the company’s
commission plan “provides for UNLIMITED Income. You can earn as much
money as you want. There is NO LIMIT on the width of the affiliates you can
refer to the program.”

b. An “SBH Prospecting System” document tells Affiliates how to
pitch the program to recruits. The document provides a closing script that allows
Affiliates to fill in the blanks for consumers’ potential earnings if they join the

company:

Page 15 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 19 of 111

STEP 4: & CLOSING QUESTIONS

1. ‘Now, how much money would you need to make on a monthly basis. for
this business to be worth your time?”

2. "How many hours per week could you put towards working your SBH
business In order to get to $ /month?”

3. “How long (months or years) would you be willing to work hours
per week to reach $ / month?”

4. “If | could show you how to get to $ / month working
hours per week within months/years, you'd be ready to get
started, wouldn't you?"

c. In one video posted to Facebook, Jay Noland called SBH a “literal
golden goose . . . a perpetual money and health machine.”

47. Notwithstanding the claims described above, Defendants also tell SBH
Affiliates to avoid making “income claims” by instead referring to “lifestyle
enhancements.”

a. SBH’s “Getting Started Training” presentation deck tells Affiliates,
“No Income Claims (Share Lifestyle Enhancements Instead).”

b. Similarly, SBH’s “1-10 Overview,” which Affiliates use to recruit
consumers, includes a “Lifestyle” section picturing a luxury car and highlighting
“exotic reward trips and vacations” and “luxury and living incentives.”

c. On one company conference call, Harris told Affiliates: “Don’t
make income claims. Say things like, ‘I’ve been able to make my car payment or
my house payment with the income we’re making on the side.’ . . . Say things like,
‘My wife was able to walk away from her job . . . or both of us were able to walk

away from our jobs based on the residual income from the company.’”

Page 16 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 20 of 111

d. In a video posted to Facebook, Jay Noland claimed that his past
trainees, by listening to his advice, had acquired “Lamborghinis; Rolls Royces;
Bentleys; multimillion-dollar homes in single-, double-, and triple-gated
communities; [and] Bahamas trips.”

e. On another Facebook video, Jay Noland described the success
obtained by adherents to his system: “You see their million-dollar homes they’re
buying. You see the Lamborghinis, you see the Ferraris. You see all these great
things that people are able to obtain, the travel, how they’re able to help their
family out, help their favorite nonprofit cause. All of a sudden, you see them
going in, donating $100,000, $200,000, man.”

48. | Jay Noland has described this “lifestyle enhancement” marketing strategy
as an effort to avoid government scrutiny. He explained that “instead of telling people
how much [money] we make, we just go, okay, last week, I made enough to buy that
Maserati cash.”

49. Defendants’ publicly available marketing materials feature images of
luxury yachts and cars, piles of cash, and exotic vacations. For example, one SBH
promotional video states that SBH is a “recession-proof” business that could “change
everything — the car you drive, the home you live in, the vacations you take, the control
of your life.”

50. | Defendants sometimes tell consumers that income is not “guaranteed,” that
“results may vary,” and that any explanations of the SBH commission plan that show

lucrative results are “simple theoretical examples.”

Page 17 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 21 of 111

51. | These income-related disclaimers frequently are inconspicuously disclosed
in fine print on SBH’s promotional materials.

52. | Defendants also regularly undermine these disclaimers, including by
making the claims described in paragraphs 38-49 above.

a. On one SBH conference call, Jay Noland explained that Defendants’
“theoretical examples” of lucrative income are only “theoretical” because “you
haven’t done it yet.”

b. Similarly, in a publicly available presentation, Jay Noland
referenced potential income of $23,500 per month as a “simple theoretical
example.” He then asked, “Why is it theoretical?” and answered himself,
“Because you just ain’t done it yet. But are there people that do it?... Yes. I got
people in my network globally that make that look silly.”

53. | Onmany occasions, Defendants explain that the only things separating
SBH Affiliates from substantial income and millionaire status is work ethic, attitude, and
a willingness to follow Defendants’ instructions.

a. In an SBH conference call announcing changes to the company’s
commission plan, Jay Noland told Affiliates, “The money opportunities to make
and change your life [are] ridiculous. All you’ve got to do is go to work.”

b. Jay Noland told Affiliates this his plan was “literally dummy-
proof... . [They] came out with ‘This for Dummies’ and ‘That for Dummies,’ this
is literally ‘Direct Sales for Dummies.’ A dummy can just go follow these

instructions and create wealth.”

Page 18 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 22 of 111

Cc. Sacca promised Affiliates that “there’s no way you can fail if you

utilize the training that Mr. Noland is going to give us at [an upcoming training

event].”

d. In one SBH recruiting presentation, just after describing a $5 million

recruitment incentive, Defendants suggest that anyone can succeed:

    

   
   
   

a

Totally normial! _
y Let's see'why!

‘ And the-answer is.

Za W ;

_ es: ey
acy a: Ps ge ae
. ae UUR

     

 

af
J BUSH: 34

SIF ae ere To ea nora at eo eT
Tete *

54. Defendants direct SBH Affiliates to tell recruits that the company’s rewards

are “achievable for the masses.”

55. | Defendants’ claims described in paragraphs 39-54 are false.

56. | SBH does not offer consumers a viable path to “financial freedom” or to

replacing their job income in six months.

57. Typically, SBH Affiliates pay more money to the company than they

receive from it.

58. | SBH does not even abide by its own commission plan when compensating

Affiliates. An FTC investigator used an undercover identity to enroll in SBH and then

made sales and purchases that should have entitled him to commissions. He never

Page 19 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 23 of 111

received those commissions, and the company did not respond to his email inquiry
regarding the missing commissions.

59. | Even if Defendants honored SBH’s commission plan, the structure of that
plan, and Defendants’ instructions for how to take advantage of it, ensure that the vast
majority of participants lose money in the program.

SBH Operates as an Unlawful Pyramid Scheme

60. Each version of the SBH commission plan, and the manner in which
Defendants have promoted the plan, has prioritized and incentivized recruiting new
Affiliates over selling SBH products to ultimate users of those products.

61. For example, SBH promises commissions to Affiliates based only on
Affiliate or non-A ffiliate product purchases from SBH, rather than sales to users of SBH
products. Specifically, Affiliates receive commissions and other rewards based on the
Affiliate’s “personal order and any orders generated from [their SBH] website” as well as
personal orders and orders generated from downline Affiliate Websites. SBH does not
separately track sales made by Affiliates to ultimate users of SBH products.

62. The vast majority of purchases from the SBH website or from Affiliate
Websites are made by Affiliates.

63. Affiliates’ purchases from the SBH website or Affiliate Websites are not
motivated by actual consumer demand for the SBH products, but rather by the
opportunity to pursue higher ranks within SBH.

64. Defendants promote “Four Steps to Success” for new SBH Affiliates, as

depicted in the visual below. The Four Steps to Success—which have remained

Page 20 of 41
- Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 24 of 111

consistent throughout all versions of the commission plan—do not mention retail sales,

instead encouraging Affiliates to buy products, “build a team,” and then “duplicate” their

own efforts by “[t]each[ing] your team to do the same.”

 

   
 

  

   

Sala eae . fg : pS lt eR
eee Ae (= . CE ener Mac SeoAEICT oa
istand Start building your

 
 

ah ee:

 

 

 

 

 

65. In other training materials, Defendants elaborate on the Four Steps to

Success.

a. In Step 1 (“Get Started”), Defendants urge consumers to make large

up-front investments in “business packs,” which cost $125, $500, or $1,995 and
contain miscellaneous SBH products. Defendants tell Affiliates that starting with
a more expensive pack will create “more initial commission benefits.”

b. In Step 2 (“Be a Product of the Product”), Defendants tell consumers

to set up a monthly product “auto-order.” To be eligible for many bonuses and

rewards, Affiliates must set up a minimum $60 monthly auto-order. Defendants

Page 21 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 25 of 111

also tell Affiliates and recruits that setting up an auto-order will give them an

“85% chance of earning regular commission checks within 2 years.”

c. In Step 3 (“Build A Team”), Defendants focus Affiliates on
recruiting. They instruct Affiliates to “be sure to personally refer at least two new
Affiliates within your first 7 Days if you are aiming to Replace Your Income (No
More Job).” After the first seven days, Affiliates are encouraged to “keep building
every month,” “duplicate the system,” and “focus on rank advancing.”

d. In Step 4 (“Pay Attention to the Training and Duplicate”),
Defendants tell Affiliates to use SBH-provided materials to “[t]each your team to
do the same” steps identified above. A separate SBH training document describes
“duplication” as the “key to long term success” as an SBH Affiliate.

66. All versions of the SBH commission plan have encouraged Affiliates to
harness the “Power of 10.” An Affiliate can achieve the “Power of 10” by recruiting ten
new Affiliates as the Affiliate’s “Tier 1,” each of whom themselves recruit ten new
Affiliates as the original Affiliate’s “Tier 2,” and so on through Tiers 3-5. Therefore, in
the Power of 10, Tier 1 contains 10 Affiliates, Tier 2 contains 100 Affiliates, Tier 3
contains 1,000 Affiliates, Tier 4 contains 10,000 Affiliates, and Tier 5 contains 100,000
Affiliates, for a cumulative total of 111,110 Affiliates.

67. Defendants promote an example of the Power of 10 wherein each of the top
Affiliate’s 111,110 downline Affiliates generate purchases from SBH of $500 per month,

for a cumulative monthly purchase volume of over $55 million. Defendants use the

Page 22 of 41
Case 1:20-mc-00005 Document 1 ‘Filed 01/17/20 USDC Colorado Page 26 of 111

following visual to highlight that the top Affiliate receives a $1,173,500 monthly

commission in this example:

 

 

 

 

 

 

 

 

Re ee een
FA gE PIT TN ng gh Langs, PRT

) 5-Tier Residual Team Commissions

   

 

 

 

 

NS AG ig YE EY’
a SUGCESS sapieeel |
AWE: _|
o
~ Biers Cig Cry lei
Tigh at 16 $5,000 $500 $500
| TBR 100 $50,000 $3,000 $3,500 $1,750
1.000 $500,000 $20,000 $23,500 $11,750
tba 16 COO $5,000,000 $150,000 $173,500 $86,750
fer Tet WAS
Ein, 190 000 $50,000,000 $1,000,000 CSts7aso9' "4 $586,750

 

 

2 Phese Plan — if

68. Defendants also promote an otherwise-identical example wherein each of
the 111,110 downline Affiliates generate $100 rather than $500 in product purchases per
month, which results in a $234,700 monthly commission for the top Affiliate.

69. Defendants further push the Power of 10 by promoting a “BAM Bonus”
that pays out $1 million to an Affiliate who completes the Power of 10 with all 111,110
downline Affiliates generating $100 in monthly purchases, and $5 million to an Affiliate
who completes the Power of 10 with all 111,110 downline Affiliates generating $500 in

monthly purchases.

Page 23 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 27 of 111

70. In fact, as of April 2019, not a single SBH Affiliate had even completed
Tier 2 of the Power of 10 at the $100-per-month level, much less all five tiers at the
$500-per-month level.

71. For asingle Affiliate to achieve the five-tier “Power of 10,” at least
100,000 of that Affiliate’s downline team members must lose money.

72. Defendants frequently emphasize that the path to millionaire status and
financial freedom depends on recruiting ten Affiliates and then starting the “duplication”
process.

a. A public SBH presentation that includes the following visual directs

Affiliates to “get ‘my 10’ Affiliate Team Members” and to “teach[] each new

Team Member to the same thing, get ‘their 10.’”

 

 

 

 

 

     
    

wee

 

“ SSW TEN GT of TORTS oT
<B 6-Tler & Lesidinal 7 Team Commissions
” (" ina: the “Cpuw et tony Geeeac
| BBecrin | uate

Leverage Ibe patentiar of fw
Tors Comm sons,

 

      

a
paeuies wae pea
<P paar kaa dg earn AD

* K * "x n k “cK ok “7% * “*"

ble

 

    

du: pease ame Ae ‘es

tS

 

  

 

42 Phase Plan
b. On one SBH Affiliate conference call, Harris told SBH Affiliates

“your ten-by-ten is the most important thing you can ever build in this company.

Page 24 of 41

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 28 of 111

The most important thing you can do is think about it every day. I’ve got to get

my ten, my ten on my first tier.”

C. In another Facebook video, Sacca told Affiliates that the SBH
commission plan is “driven 100%” by the Power of 10 BAM Bonus. Jay Noland
called this training session the best training he ever saw Sacca do.

73. Defendants also encourage Affiliates to buy large amounts of products
when they sign up, and to continue stockpiling inventory thereafter. They encourage
these purchases not as a response to consumer demand, but instead as a strategy of
growing one’s business and advancing to higher SBH ranks.

a. The SBH Fast Start system, for example, states, “The more
inventory you have to start your business, the faster your business typically will
grow.”

b. Harris coached Affiliates to “make sure we keep our shelves full.”

c. With just hours remaining in one monthly sales period, Jay Noland
pushed any Affiliate with $500 in monthly sales over the prior 30 days to make an
additional $14,500 in purchases in the final four hours, which would qualify the
Affiliate for SBA1 status for the following month. Noland added: “You can do it.
It’s just in your mind... . Listen to me. You can go in, order you a case.”

d. Similarly, Harris told Affiliates at the end of another monthly sales
period to buy products to achieve Business Affiliate status. He acknowledged
receiving complaints from Affiliates who already had $1,000 in unsold

merchandise in their house, but dismissed those concerns by explaining that this

Page 25 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 29 of 111

unsold inventory was actually a benefit: “If you got $1,000 [in products] in your

house, congratulations. If you got 4 or $5,000 worth, congratulations. If you got

more than that, congratulations. Mr. Noland and I used to carry around 10, 15, 20,

$25,000 or more in products.”

74. Defendants press Affiliates to take financial risks to attend trainings and
buy SBH products. In particular, Defendants encourage recruits to max out credit cards,
borrow from family, take loans from banks, and sell or mortgage their homes to fund
their SBH businesses.

75. In one Facebook video, Harris recounted telling an Affiliate that he should
obtain a loan to travel to Orlando for an SBH training event: “So it’s not worth getting a
loan to come here and build something that’s going to take care of your family for
generations? Right, I mean, yeah, I would get a loan if I needed one. Guess what I did
back in the 1990s [in a prior multilevel marketing program]? I got loans. .. . I got [my
credit cards] increased to the point where I couldn’t even use them no more... . I
borrowed money from people in my family and from some of my friends.”

76. While urging Affiliates to build large inventories of products in order to
improve their SBH ranks—and therefore increase their commissions and other rewards—
Defendants simultaneously undercut Affiliates’ ability to sell that inventory at any
meaningful profit.

77. Specifically, Defendants sell products to Affiliates at what they call

“wholesale” price.

Page 26 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 30 of 111

78. Defendants then state that Affiliates should apply at least a 50% “markup”
to products in the Affiliate’s personal inventory before selling the products in hand-to-
hand sales at a “retail” price. Affiliates earn no commission on those in-person sales, but
can make money by selling at a higher price than their wholesale purchase price.

79. Defendants, however, compete with their own Affiliates by making the
Affiliate “wholesale” price available to the general public. Thus, both Affiliates and non-
Affiliates can purchase products at the exact same “wholesale” price from the SBH
website or Affiliate Websites.

80. Asaresult, non-Affiliate consumers have little reason to pay the 50% retail
“markup” at which SBH suggests Affiliates sell their products, and Affiliates struggle to
sell products from their rapidly growing inventory for any meaningful profit.

81. Defendants actually encourage Affiliates to tell their own customers that
they can buy products cheaper directly from SBH. SBH’s retail script directs Affiliates
to tell customers, “I need you to help me out by buying at least a bag or two of coffee
from me one time at Retail Pricing. If you like it, I will show you how to get it at
Wholesale Pricing from then on.”

82. Defendants also expressly tell Affiliates that their top priority is recruiting
rather than retail sales.

a. In describing one “cash promotion,” Jay Noland declared that the
goal was “to get you focused on what you should be focusing on right now, which
is new people getting into the company.” Noland then reminded Affiliates to

“get[] ten to get ten to get ten.”

Page 27 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 31 of 111

b. SBH’s director of sales told Affiliates that retail sales were a “great
way to make some extra, part-time money, to make some quick quick money,” but
emphasized that “recruiting is key” and that Affiliates should spend their time
building a “10x10x10x10x10.”

Cc. Similarly, one top SBH Affiliate said she would “gloss over retail”
at a recruiting event in order to spend more time on the purported lucrative
benefits of recruiting.

83. Defendants’ “One Year Commitment Form” for new Affiliates requires
Affiliates to make ten commitments, none of which involve selling products to non-

Affiliate consumers.

 

| hereby commit that | will:

- Give 110% to my SBH Business.

- Be a Product of the SBH Products.

» Launch my Business by hosting at least 4 SBH Business Mixers within my first 30 days.
« Expose my SBH business to at least 2 people per day (5 days per week).

« Make sure my team goes through the SBH “Fast Start System’ Training.

- Host or Attend at least 1 SBH Business Mixer (CTM) per week for the next year.

- Attend all Major Corporate Events (typically 2 or 3 per year).

- Attend all local weekly “Getting Started Trainings” and "Regional Events” in my area.
+ Practice at least 30 minutes of Self Development Daily. Commit to “Conquer Myself”
and control my destiny.

- Be an Honorable Person that KEEPS MY WORD,

a —~- .
I WILL CONDUCT MY BUSINESS BY THESE CORE PRINCIPLES AND

| FURTHER COMMIT THAT | WILL BE HERE 1 YEAR FROM NOW!

rh ba —-

 

 

 

 

84. Jay Noland has urged Affiliates to continue recruiting even when products
are unavailable due to shipping delays, explaining that Affiliates should “sell the vision”
instead of the products, and adding that “the bigger vision you sell, the bigger paycheck
you get.”

Page 28 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 32 of 111

85. Jay Noland also has admitted that the products, and consumer demand for
the products, are unimportant to his ability to sell consumers on the promise of financial
freedom. Noland stated that “you can plug any company or product into this process, and
you can be free financially if you want to be.”

Defendants* Shipping Delays and Punitive Chargeback and Refund Policies

86. Defendants sell products to consumers, including Affiliates, through the
SBH website and Affiliate Websites.

87. Defendants also sell products to Affiliates through the A ffiliate’s “back
office”—a password-protected website managed by SBH and unique to each Affiliate.

88. Defendants do not clearly and conspicuously disclose a shipping date to
consumers who purchase products on the SBH website, Affiliate Websites, or Affiliate
back offices.

89. During the product-ordering process on the SBH website or Affiliate
Websites, Defendants do not display the SBH “terms and conditions.” Instead,
consumers can only find the terms and conditions by clicking on a small-print “Terms of
Use” hyperlink on the bottom of the SBH website or Affiliate Websites.

90. When Affiliates order products from their back offices, they can only view
the terms and conditions by clicking a hyperlink.

91. Buried within Defendants’ undisclosed or hyperlinked terms and
conditions, and spread across multiple, sometimes-unnumbered sections in small font, are

the specifics of SBH’s shipping, no-refund, and chargeback policies.

Page 29 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 33 of 111

a. In the second paragraph of section 14, Defendants state that “SBH
[p]roducts typically ship within 48 business hours” and that “from time to time,”
products may not ship for “up to 60 days or more in some cases.”

b. Section 14 also states that all product purchases are nonrefundable
“for any reason whatsoever” and prohibits consumers from seeking credit card
“chargebacks” (i.e., a refund through a credit card company).

c. The unnumbered “Liquidated Damages” section of the terms and
conditions impose liquidated damages upon consumers who “violate[] the No
Refund Policy and file[] a chargeback or dispute[] a purchase they made from
[SBH].” Those damages equal three times the amount of each chargeback or
$1,000—whichever is greater.

d. The unnumbered “Confession of Judgment” section of the terms and
conditions also allows SBH to confess a judgment in any court against a consumer
who “dispute[s]” a credit card payment or obtains a reversal of a credit card
transaction “for any reason.” The same section defines the confessed judgment
amount as three times the amount of each reversed or disputed charge or $1,000—
whichever is greater—plus the amount of the original charge, along with
collection costs, court costs, and attorneys’ fees.

92. Inaseparate part of the SBH Affiliates’ back offices, a “frequently asked
questions” section responds to a “What is the SBH Shipping policy?” question by stating

that products “typically ship within 48 — 72 business hours from when the order is

Page 30 of 41
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 34 of 111

placed.” Only under a separate “How do refunds work?” question do Defendants state
that orders may not ship for “up to 60 days or more in some cases.”

93. | On many occasions, consumers have waited months to receive products or
have not received products at all.

94. Defendants do not obtain consumers’ consent to shipping delays.

95. Defendants do not offer any consumers, including consumers who wait for
months to receive products or who never receive their products, the option to cancel their
order and obtain a refund.

96. Defendants do not provide refunds to consumers who request them,
including consumers who wait months to receive their products or who never receive
their products.

97. Jay Noland has urged Affiliates to “keep ordering, keep moving, keep
pushing,” even when SBH runs out of products.

98. | Defendants threaten consumers who ask questions or complain about
shipping delays with legal action or removal from the company.

99. In one Facebook video, Jay Noland said, “We’re having just a crazy
amount of people calling our 800 number asking where their orders are at.” He blamed
this on “terrible leadership” not by himself, but instead by the Affiliates who had
recruited the complaining. Affiliates. He then threatened to remove from SBH the

complaining Affiliates and those Affiliates’ upline referrers.

Page 31 of 41
~ Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 35 of 111

100. In one video posted to Facebook, Jay Noland threatened to report to the
police any Affiliate who requested a chargeback on a product for which he or she had
received a commission—even if the Affiliate had not received the product.

101. SBM Holdings sued nine SBH Affiliates in Nevada state court, alleging,
among other things, that the Affiliates violated the SBH terms and conditions by seeking
at least 12 chargebacks.

Defendants’ Sale of Consumers Goods and Services at SBH and
Success by Media Events

102. Defendants and their representatives frequently host events at which they
sell SBH products and tickets to future training events. These events occur at locations
other than the Defendants’ place of business.

103. As seen in the image accompanying paragraph 83, Defendants require new
Affiliates to attend all “major corporate events.” Similarly, as described in paragraph 44,
Defendants encourage Affiliates seeking financial freedom to attend “all SBH Corporate
trainings and events no matter what.”

104. The “major corporate events” referenced in paragraph 103 occur 3-4 times
annually at a cost $200-3500 per ticket, excluding travel and hotel costs. These events
usually occur in hotel conference rooms or convention centers.

105. Defendants and their representatives also host smaller events, such as
“coffee tea mixers” (““CTMs”) or “Success Saturdays,” throughout the year. These events
usually occur in Defendants’ or their representatives’ homes or in hotel conference

rooms.

Page 32 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 36 of 111

106. At these events, Defendants use high-pressure tactics—including threats of
diminished status within SBH; emotional pleas from friends, family, and SBH leaders;
and screaming—to sell consumer goods or services, including SBH products and tickets
to training events, that cost more than $130.

107. Defendants do not inform, either orally or in writing, purchasers of goods
or services at the above-described events of their right to cancel the transaction within
three business days. Defendants also do not provide these purchasers with a form “notice
of cancellation” that they may use to cancel the transactions.

108. Based on the facts and violations of law alleged in this Complaint, the FTC
has reason to believe that Defendants are violating or are about to violate laws enforced
by the Commission.

VIOLATIONS OF THE FTC ACT

109. Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
deceptive acts or practices in or affecting commerce.”

110. Misrepresentations or deceptive omissions of material fact constitute
deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

Count I - Illegal Pyramid

111. As alleged above, Defendants operate or promote participation in an
unlawful scheme in which participants pay money to the company in return for which
they receive (1) the right to sell products, and (2) in return for recruiting other
participants into the program, the right to receive rewards that are unrelated to the sale of

products to ultimate users.

Page 33 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 37 of 111

112. Defendants’ operation or promotion of this type of scheme, often referred
to as a pyramid scheme, constitutes a deceptive act or practice in violation of Section 5(a)
of the FTC Act, 15 U.S.C. § 45(a).

Count II — Income Misrepresentations

113. In numerous instances in connection with the advertising, marketing,
promotion, offering for sale, or sale of the right to participate, or further participate, in the
SBH program, Defendants have represented, directly or indirectly, expressly or by
implication, that SBH Affiliates are likely to earn substantial income.

114. In truth and in fact, in numerous instances in which Defendants have made
the representations set forth in paragraph 113, SBH Affiliates are not likely to earn
substantial income.

115. Therefore, Defendants’ practices, as set forth in paragraph 113, constitute a
deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

Count III — Means and Instrumentalities

116. By furnishing SBH Affiliates with promotional materials and instructions
to be used in recruiting new participants that contain false or misleading representations,
Defendants have provided the means and instrumentalities for the commission of
deceptive acts and practices.

117. Therefore, Defendants’ practices, as set forth in paragraph 116, constitute a

deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

Page 34 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 38 of 111

VIOLATIONS OF THE MAIL, INTERNET, OR
TELEPHONE ORDER MERCHANDISE RULE

118. The Merchandise Rule, 16 C.F.R. Part 435, prohibits sellers from soliciting
any order for the sale of merchandise ordered through the mail, via Internet or by
telephone “unless at the time of the solicitation, the seller has a reasonable basis to expect
that it will be able to ship any ordered merchandise to the buyer” either “[w]ithin that
time clearly and conspicuously stated in any such solicitation; or [i]f no time is clearly
and conspicuously stated, within 30 days after receipt of a properly completed order from
the buyer.” 16 C.F.R. § 435.2(a)(1).

119. “Receipt of a properly completed order” means “where the buyer tenders
full or partial payment . . . the time at which the seller receives both said payment and an
order from the buyer containing all of the information needed by the seller to process and
ship the order.” 16 C.F.R. § 435.1(c).

120. Where a seller is unable to ship merchandise within the seller’s advertised
time or within 30 days, if no time is given, the seller must offer to the buyer “clearly and
conspicuously and without prior demand, an option either to consent to a delay in
shipping or to cancel the buyer’s order and receive a prompt refund.” 16 C.F.R.

§ 435.2(b)(1).
a. Any such offer “shall be made within a reasonable time after the
seller first becomes aware of its inability to ship.” 16 C.F.R. § 435.2(b)(1).
b. The offer must fully inform the buyer of the buyer’s right to cancel

and provide a definite revised shipping date or inform the buyer that the seller

Page 35 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 39 of 111

cannot make any representation regarding the length of the delay. 16 C.F.R. §

435.2(b)(1)(i).

121. A seller must “deem an order canceled and... make a prompt refund to the
buyer whenever the seller receives, prior to the time of shipment, notification from the
buyer cancelling the order pursuant to any option [under the Merchandise Rule} . . . [or]
[t]he seller fails to offer the option [to consent to a delay or cancel required by
§ 435.2(b)(1)] and has not shipped the merchandise” within the time required by the
Merchandise Rule. 16 C.F.R. § 435.2(c), (c)(1), (c)(5).

122. Pursuant to Section 18 of the FTC Act, 15 U.S.C. § 57a(d)(3), and 16
C.F.R. § 435.2, a violation of the Merchandise Rule constitutes an unfair or deceptive act
or practice in or affecting commerce, in violation of Section 5(a) of the FTC Act, 15
U.S.C. § 45(a).

Count IV — Failure to Seek Consent or Offer Cancellation

123. In numerous instances, when Defendants failed to ship orders within the
timeframe required by the Merchandise Rule, they failed to offer customers the
opportunity to consent to a delay in shipping or to cancel their order.

124. Defendants’ practices as alleged in paragraph 123 violate the Merchandise
Rule, 16 C.F.R. § 435.2(b), and therefore are unfair or deceptive acts or practices in
violation of Section 5 of the FTC Act, 15 U.S.C. § 5(a).

Count V — Failure to Provide Cancellation or Refund
125. In numerous instances, when Defendants failed to ship orders within the

timeframe required by the Merchandise Rule and failed to offer consumers the

Page 36 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 40 of 111

opportunity to consent to a delay in shipping or to cancel their order, they did not cancel
those orders or provide consumers a refund. In addition, if buyers notified Defendants of
an order cancellation pursuant to any option under the Merchandise Rule, Defendants did
not deem those orders cancelled or provide a prompt refund.

126. Defendants’ practices as alleged in paragraph 125 violate the Merchandise
Rule, 16 C.F.R. § 435.2(c), and therefore are unfair or deceptive acts or practices in
violation of Section 5 of the FTC Act, 15 U.S.C. § 5(a).

VIOLATIONS OF THE RULE CONCERNING COOLING-OFF PERIODS FOR
SALES MADE AT HOME OR CERTAIN OTHER LOCATIONS

127. The Cooling-Off Rule, 16 C.F.R. Part 429, gives purchasers of certain
goods and services three days to cancel purchases of $25 or more when the sale takes
place at the purchaser’s home, or $130 or more when the sale takes place at any location
other than the seller’s place of business (e.g., hotel rooms or convention centers). 16
C.F.R. §§ 429.0(a), 429.1.

128. The Cooling-Off Rule requires the seller to furnish the purchaser with a
fully completed receipt or copy of any contract pertaining to such sale at the time of its
execution, which must contain a statement summarizing the purchaser’s right to cancel
within three business days. 16 C.F.R. § 429.1(a).

129. The Cooling-Off Rule also requires the seller to inform purchasers about
cancellation rights at the time of the sale by giving the purchaser two copies of a
cancellation form (one to keep and one to send). The Cooling-Off Rule also requires the

cancellation form to be captioned either “NOTICE OF RIGHT TO CANCEL.” or

Page 37 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 41 of 111

“NOTICE OF CANCELLATION” and sets forth the language that must be contained in
the cancellation notice. 16 C.F.R. § 429.1(b), (c).

130. The Cooling-Off Rule also requires that, at the time the purchaser signs the
contract or purchases the goods or services, the seller orally inform the purchaser of the
purchaser’s right to cancel. 16 C.F.R. § 429.1(e).

131. Pursuant to Section 18 of the FTC Act, 15 U.S.C. § 57a(d)(3), and 16
C.F.R. § 429.1, a violation of the Cooling-Off Rule constitutes an unfair or deceptive act
or practice in or affecting commerce, in violation of Section 5(a) of the FTC Act, 15
U.S.C. § 45(a).

Count VI - Failure to Notify Consumers of Cancellation Rights

132. Defendants are “sellers” as that term is defined in Section 429.0(c) of the
Cooling-Off Rule, and have been engaged in “door-to-door sales” of “consumer goods
and services,” as those terms are defined in Section 429.0(a), (b) of the Cooling-Off Rule.

133. In numerous instances, in connection with the door-to-door sales of SBH
products and training events, Defendants have:

a. Failed to furnish purchasers with a receipt or contract informing
them of their right to cancel the transaction within three business days;

b. Failed to furnish purchasers with a “Notice of Cancellation” or
“Notice of Right to Cancel” that purchasers can use to cancel the transaction; and

c. Failed to orally inform purchasers of their right to cancel the

transaction.

Page 38 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 42 of 111

134. Defendants’ practices as alleged in paragraph 133 violate the Cooling-Off
Rule, 16 C.F.R. § 435.1, and therefore are unfair or deceptive acts or practices in
violation of Section 5 of the FTC Act, 15 U.S.C. § 5(a).

CONSUMER INJURY

135. Consumers are suffering, have suffered, and will continue to suffer
substantial injury as a result of Defendants’ violations of the FTC Act, the Merchandise
Rule, and the Cooling-Off Rule. In addition, Defendants have been unjustly enriched as
a result of their unlawful acts or practices. Absent injunctive relief by this Court,
Defendants are likely to continue to injure consumers, reap unjust enrichment, and harm
the public interest.

THIS COURT’S POWER TO GRANT RELIEF

136. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to
grant injunctive and such other relief as the Court may deem appropriate to halt and
redress violations of any provision of law enforced by the FTC. The Court, in the
exercise of its equitable jurisdiction, may award ancillary relief, including rescission or
reformation of contracts, restitution, the refund of monies paid, and the disgorgement of
ill-gotten monies, to prevent and remedy any violation of any provision of law enforced
by the FTC.

137. Section 19 of the FTC Act, 15 U.S.C. § 57b, the Merchandise Rule, and the
Cooling-Off Rule authorize this Court to grant such relief as the Court finds necessary to

redress injury to consumers resulting from Defendants’ violations of the Merchandise

Page 39 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 43 of 111

Rule and the Cooling-Off Rule, including the rescission or reformation of contracts, and
the refund of money.
PRAYER FOR RELIEF

Wherefore, Plaintiff FTC, pursuant to Sections 13(b) and 19 of the FTC Act, 15
U.S.C. §§ 53(b), 57b, the Merchandise Rule, the Cooling-Off Rule, and the Court’s own
equitable powers, requests that the Court:

A. Award Plaintiff such preliminary injunctive and ancillary relief as may be
necessary to avert the likelihood of consumer injury during the pendency of this action
and to preserve the possibility of effective final relief, including but not limited to
temporary and preliminary injunctions, and an order providing for immediate access, the

turnover of business records, an asset freeze, and the appointment of a receiver;

B. Enter a permanent injunction to prevent future violations of the FTC Act by
Defendants;
C. Award such relief as the Court finds necessary to redress injury to

consumers resulting from Defendants’ violations of the FTC Act, the Merchandise Rule,
and the Cooling-Off Rule, including but not limited to, rescission or reformation of
contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten
monies; and

D. Award Plaintiff the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.

Page 40 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 44 of 111

Dated: January 8, 2020

Respectfully submitted,

ALDEN F. ABBOTT
General Counsel

Z Lh

EVAN M. MENDELSON, DC Bar No. 996765
JONATHAN W. WARE, DC Bar No. 989414
Federal Trade Commission

600 Pennsylvania Ave. NW

Mailstop CC-9528

Washington, DC 20580

(202) 326-3320; emendelson@ftc.gov

(202) 326-2726; jware1@ftc.gov

(202) 326-3197 (Fax)

Attorneys for Plaintiff

FEDERAL TRADE COMMISSION

 

Page 41 of 41
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 45 of 111

EXHIBIT B
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 46 of 111

Case 2

Co Se NI HD Wn FP WY NO =

Oo NY NY WN WN NY NY KN NY HK HF HF Fe HR Fe Se S| ee
oO nN DN NH FP Ww NY K§ CFOS OO FH DQ HD WH BR WO NO KK CO

PO-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 1 of 64

wo
‘IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
Federal Trade Commission, No. CV-20-00047-PHX-DWL
Plaintiff, AMENDED ORDER
Vv. (Under Seal)

James D Noland, Jr., et al.,

Defendants.

 

 

 

 

Plaintiff, the Federal Trade Commission, has filed a Complaint for Permanent
Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade
Commission Act (“FTC Act”), 15 U.S.C. § 53(b) and has moved for a temporary
restraining order (“TRO”), asset freeze, other equitable relief, and an order to show cause
why a preliminary injunction should not issue against individual defendants James D.
Noland, Jr. (“Jay Noland”), Lina Noland (“Lina Noland”), Scott A. Harris (“Harris”), and
Thomas G. Sacca, Jr. (“Sacca”) (collectively, the “Individual Defendants”) and corporate
entities Success by Media Holdings Inc. and Success by Media LLC (together, the
“Corporate Defendants” or “Success By Media”). (Doc. 3 [complaint]; Doc. 7 [motion for
TRO]; Doc. 8 [supporting memorandum].)

As explained below, although the Court generally agrees that the FTC has met its
burden of establishing an entitlement to a TRO, the Court declines to issue the writ ne exeat
republica sought by the FTC as to James Noland. The Court also finds that the FTC has

not made a specific showing necessary to justify all of the relief it seeks as Sacca. The

 
Cas

Case 2!

oo Fe ST DN OH FR WY NY

Bo NYO NO NH NHN WH HN WN YN Re HR HR eS Fe Se Se
So ND OH FP WD NO FH DT Oo Fe HT DB nA Bh WY NO KF CO

 

 

6 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 47 of 111
P0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 2 of 64

motion is otherwise granted.
FINDINGS OF FACT

The Court, having considered the Complaint, the ex parte Motion for TRO,
declarations, exhibits, and the memorandum filed in support thereof, and being otherwise
advised, finds that:

A. This Court has jurisdiction over the subject matter of this case, and there is
good cause to believe that it will have jurisdiction over all parties hereto and that venue in
this district is proper.

B. There is good cause to believe that Defendants have operated and promoted
a marketing scheme in which they are:

1. Operating as an illegal pyramid scheme;

2. Falsely representing that members of the Success By Health program
(called “Affiliates”) are likely to earn substantial income;

3. Providing the means and instrumentalities for the commission of
deceptive acts and practices by furnishing Affiliates with promotional
materials containing false and misleading representations to be used
in recruiting new participants;

4. Not providing consumers with required notices about their right to
cancel and obtain a refund, or providing consumers with such a refund
when requested, for certain sales; and

5. For products not shipped within 30 days from purchase, not providing
consumers a revised shipping date and the opportunity to cancel and
receive a refund, and not providing such refund when requested.

C. There is good cause to believe that Defendants have engaged in and are likely
to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a);
the Mail, Internet, or Telephone Order Merchandise Rule (“Merchandise Rule”), 16 C.F.R.
Part 435; and the Rule Concerning Cooling-Off Period for Sales Made at Homes or at
Certain Other Locations (“Cooling-Off Rule”), 16 C.F.R. Part 429, and that Plaintiff is

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 48 of 111

Case 2]

oO Oo YD HN A FP WY NO

NO NO NYO NY NY NY NH NY NO HH KF RFR HF Fr Se Se Se See
oOo sD A BR WY NY KK OFT OO FCB NDT HDR WA BR WO NO KF CO

 

 

P0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 3 of 64

therefore likely to prevail on the merits of this action. As demonstrated by detailed
evidence, including statements from consumers and Defendants’ former Affiliates, sales
scripts, recruiting scripts and presentations, promotional videos, transcripts of Success By
Media events and conference calls, videos and recordings of Defendants, and expert
testimony, the FTC has established a likelihood of success in showing that Defendants have
operated an illegal pyramid scheme and made false, misleading, and deceptive
misrepresentations.

D. There is good cause to believe that immediate and irreparable harm will result
from Defendants’ ongoing violations of the FTC Act, the Merchandise Rule, and the
Cooling-Off Rule unless Defendants are restrained and enjoined by order of this Court.

E. There is good cause to believe that immediate and irreparable damage to the
Court’s ability to grant effective final relief for consumers — including monetary restitution,
rescission, disgorgement, or refunds — will likely occur from the sale, transfer, destruction
or other disposition or concealment by Defendants of their assets or records, unless
Defendants are immediately restrained and enjoined by order of this Court; and that, in
accordance with Fed. R. Civ. P. 65(b), the interests of justice require that this Order be
granted without prior notice to Defendants. Thus, there is good cause for relieving Plaintiff
of the duty to provide Defendants with prior notice of its Motion for a Temporary
Restraining Order.!

F. Good cause exists for appointing a temporary receiver over the Receivership

Entities, freezing Defendants’ assets, permitting the Plaintiff and the Receiver immediate

 

1 With that said, and as discussed during the hearing on January 9, 2020, the Court
has some concern about its authority to grant a TRO in this context without providin
notice to the restrained parties. The plain text of 15 U.S.C. § 53(b), under which the FT
brings this action, states that a TRO may issue only “after notice to the defendant.” That
said, the Ninth Circuit has read two distinct provisos into the statute. FTC v. Consumer
Defense, LLC, 926 F.3d 1208, 1212 (9th Cir. 2019). Under the second proviso, which the
FTC utilizes here, the Ninth Circuit has stressed that district courts have the authority “to
grant any ancillary relief necessary to accomplish complete justice because [§ 53(b)] did
not limit that traditional equitable power.” FTC v. H. N. Singer, Inc. 668 F.2d 1107, 1113
(1982). Although Singer and Consumer Defense did not specifically address whether these
broad equitable powers include the ability to issue a no-notice TRO at the FTC’s request—
and although the second proviso of § 53(b) only mentions permanent injunctions, not
TROs—the Court acknow edges that many other district courts faced with this question
have granted the relief the FTC seeks.

-3-

 
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page AQ of 111

Case 2]

Oo fo SN DO ON FP WY YN

NY NO WN WN NH WN WN NY KN HR RFR YF HP FS FSF SF Stl Sl
on KN ON BW NY KH Oo OO Wen DH BP WY NY KF &

 

 

P0-cv-00047-DWL *SEALED* Document 21*SEALED* Filed 01/13/20 Page 4 of 64

access to the Defendants’ business premises, and permitting the Plaintiff and the
Temporary Receiver to take expedited discovery.

G. Weighing the equities and considering Plaintiffs likelihood of ultimate
success on the merits, a temporary restraining order with an asset freeze, the appointment
of a temporary receiver, immediate access to business premises, expedited discovery, and
other equitable relief is in the public interest. That said, the evidence produced by the FTC
does not justify the extraordinary relief of a writ ne exeat republica.

H. This Court has authority to issue this Order pursuant to Section 13(b) of the
FTC Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All Writs Act, 28
U.S.C. § 1651.

I. No security is required of any agency of the United States for issuance of a
temporary restraining order. Fed. R. Civ. P. 65(c).

DEFINITIONS

For the purpose of this Order, the following definitions shall apply:

A. “Asset” means any legal or equitable interest in, right to, or claim to, any
property, wherever located and by whomever held, whether tangible, intangible, digital, or
otherwise, including, but not limited to, digital currencies, virtual currencies, digital tokens,
and cryptocurrencies.

B. “Corporate Defendants” means Success By Media Holdings Inc. and
Success By Media LLC and each of their subsidiaries, affiliates, successors, and assigns.

C. “Defendants” means the Corporate Defendants, James D. Noland, Jr., Lina
Noland, Scott A. Harris, and Thomas G. Sacca, SJr., individually, collectively, or in any
combination.

D. “Document” is synonymous in meaning and equal in scope to the usage of
“document” and “electronically stored information” in Federal Rule of Civil Procedure
34(a) and includes writings, drawings, graphs, charts, photographs, sound and video
recordings, images, Internet sites, web pages, websites, electronic correspondence,

including e-mail and instant messages, contracts, accounting data, advertisements, FTP

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 50 of 111

Case 2

Oo fe SI DBD OH FF WY NO —

wo NO NO NO WN WH HN WN KN KR KR HP He KF Fe EF Se Se
So NI HD A FP WD NY K|§ COD OO OH HT HD NH BP WO NY KF CO

 

 

PO0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 5 of 64

Logs, Server Access Logs, books, written or printed records, handwritten notes, telephone
logs, telephone scripts, receipt books, ledgers, personal and business canceled checks and
check registers, bank statements, appointment books, computer records, customer or sales
databases and any other electronically stored information, including Documents located on
remote servers or cloud computing systems, and other data or data compilations from
which information can be obtained directly or, if necessary, after translation into a
reasonably usable form. A draft or non-identical copy is a separate document within the
meaning of the term.

E. “Electronic Data Host” means any person or entity in the business of
storing, hosting, or otherwise maintaining electronically stored information. This includes,
but is not limited to, any entity hosting a website or server, and any entity providing “cloud
based” electronic storage.

F. “Individual Defendant(s)” means James D. Noland, Jr., Lina Noland, Scott
A. Harris, and Thomas G. Sacca, Jr., individually, collectively, or in any combination.

G. “Marketing Program” includes, but is not limited to, any multilevel,
affiliate, or network marketing program, business opportunity, pyramid marketing scheme,
Ponzi scheme, or chain marketing scheme.

H. “Temporary Receiver” means the temporary receiver appointed in Section
XV of this Order and any deputy receivers that shall be named by the temporary receiver.

I, “Receivership Entities” means Corporate Defendants as well as any other
entity that has conducted any business related to Defendants’ marketing of programs,
opportunities, or services offered by Success By Media, including receipt of Assets derived
from any activity that is the subject of the Complaint in this matter, and that the Temporary
Receiver determines is controlled or owned by any Defendant.

ORDER
L PROHIBITED BUSINESS ACTIVITIES
IT IS THEREFORE ORDERED that Defendants, Defendants’ officers, agents,

employees, and attorneys, and all other persons in active concert or participation with them,

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 51 of 111

Case 2

Oo fe HID HD OH FP W NO

NO NYO NYO WN KN WN HN NV NY KF HF KF KF KF FO OF OPS OES le
oa NT HD On FBP WY NO KH DFT OO OH IT HD A FP WO NYO KH S&S

 

 

6.

PO0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 6 of 64

who receive actual notice of this Order by personal service or otherwise, whether acting
directly or indirectly, in connection with the advertising, marketing, promoting, or offering
for sale of any Marketing Program, are temporarily restrained and enjoined from:
A. Engaging in, participating in, assisting others, or providing others with the
means and instrumentalities to engage or participate in, any Marketing Program that:
1.
2.

Pays compensation for recruiting new members;

Encourages or incentivizes members to purchase goods or services to
obtain or maintain eligibility for bonuses, rewards, or commissions
rather than for resale or personal use;

Induces others to encourage or incentivize members to purchase
goods or services to obtain or maintain eligibility for bonuses,
rewards, or commissions rather than for resale or personal use;

Pays any compensation related to the purchase or sale of goods or
services unless such compensation is for sales to or purchases by
persons who are not members of the Marketing Program and who
were not being recruited to become members of the Marketing
Program;

Fails to monitor and take all reasonable steps necessary to ensure that
any compensation paid is for sales to or purchases by persons who are
not members of the Marketing Program and who were not being
recruited to become members of the Marketing Program; or

Constitutes a pyramid scheme or chain marketing scheme.

B. Misrepresenting, or assisting others in misrepresenting, directly or indirectly,
expressly or by implication, any material fact, including, but not limited to, that consumers
who participate in a Marketing Program will receive or are likely to receive substantial
income, as well as any other fact material to consumers concerning any good or service,
such as: the total costs; any material restrictions, limitations, or conditions; or any material

aspect of its performance, efficacy, nature, or central characteristics.

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 52 of 111°

Case 21P0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 7 of 64
1 C. For any sale for $25 or more made at the residence of the buyer, or of $130
2|| or more for sales made at a location other than Defendants’ place of business, failing (1) to
3}| inform any consumer, orally and in writing in a bold, size 10-point font, of the consumer’s
4|| right to cancel the purchase without penalty within 3 business days and obtain a full refund;
5 || and (2) failing to provide such refund within 10 business days of request.
6 D. Failing, with respect to any merchandise sold by Defendants by mail, via the
7 || Internet, or by telephone that is not shipped within 30 days or within any other time that is
8 || clearly and conspicuously displayed at the time of purchase, to offer the buyer the option
9 || to cancel the order and receive a full refund or to consent to a delay; and failing to provide
10] consumers a refund when requested under those conditions.
11 Il. PROHIBITION ON RELEASE OF CUSTOMER INFORMATION
12 IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
13 || employees, and attorneys, and all other persons in active concert or participation with any
14] of them, who receive actual notice of this Order, whether acting directly or indirectly, are
15 || hereby temporarily restrained and enjoined from:
16 A. Selling, renting, leasing, transferring, or otherwise disclosing, the name,
17|| address, birth date, telephone number, email address, credit card number, bank account
18 || number, Social Security number, or other financial or identifying information of any person
19|| that any Defendant obtained in connection with any activity that pertains to the subject
20 || matter of this Order; and
21 B. Benefitting from or using the name, address, birth date, telephone number,
22 | email address, credit card number, bank account number, Social Security number, or other
23 | financial or identifying information of any person that any Defendant obtained in
24 || connection with any activity that pertains to the subject matter of this Order.
25 Provided, however, that Defendants may disclose such identifying information to a
26 || law enforcement agency, to their attorneys as required for their defense, as required by any
27 || law, regulation, or court order, or in any filings, pleadings, or discovery in this action in
28
-7-

 

 

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 53 of 111

Case 2

0 Oe ND OH FF WY NY &

No No iw) No NO No we) nN nw —  — — —_— — —_ —_— —_— —_— —_
Sa NI HD OA BP WD NY KY OF OO PO HTD HD On FP WY NY KS CO

 

 

P0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 8 of 64

the manner required by the Federal Rules of Civil Procedure and by any protective order
in the case.
Il. ASSET FREEZE

IT IS FURTHER ORDERED that Defendants and their officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any
of them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from:

A. Transferring, liquidating, converting, encumbering, pledging, loaning,
selling, concealing, dissipating, disbursing, assigning, relinquishing, spending,
withdrawing, granting a lien or security interest or other interest in, or otherwise disposing
of any Assets that are:

l. owned or controlled, directly or indirectly, by any Defendant;

2 held, in part or in whole, for the benefit of any Defendant;

3. in the actual or constructive possession of any Defendant; or

4 owned or controlled by, in the actual or constructive possession of, or
otherwise held for the benefit of, any corporation, partnership, asset
protection trust, or other entity that is directly or indirectly owned,
managed or controlled by any Defendant;

B. Opening or causing to be opened any safe deposit boxes, commercial mail
boxes, or storage facilities titled or leased in the name of any Defendant, or subject to
access by any Defendant, except as necessary to comply with written requests from the
Temporary Receiver acting pursuant to its authority under this Order;

C. Incurring charges or cash advances on any credit, debit, or ATM card issued
in the name, individually or jointly, of any Corporate Defendant or any corporation,
partnership, or other entity directly or indirectly owned, managed, or controlled by any
Defendant or of which any Defendant is an officer, director, member, or manager. This
includes any corporate bankcard or corporate credit card account for which any Defendant

is, or was on the date that this Order was signed, an authorized signor; or

 
Cas

Case 2

Oo Oo tN HD HH SF WY YN =

pO NO NYO NO NO NY HN NN NO HK KF KF HF KF OF PF OES She
on NN OO FP WY NY K§ CO BO Fn HD TH BP W NY YF CO

 

 

e 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 54 of 111

P0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 9 of 64

D. Cashing any checks or depositing any money orders or cash received from
consumers, clients, or customers of any Defendant.

The Assets affected by this Section shall include: (1) all Assets of Defendants as of
the time this Order is entered; and (2) Assets obtained by Defendants after this Order is
entered if those Assets are derived from any activity that is the subject of the Complaint in
this matter or that is prohibited by this Order. This Section does not prohibit any transfers
to the Temporary Receiver or repatriation of foreign Assets specifically required by this
Order or expenditures by the Individual Defendants for minor, day-to-day living expenses.

IV. DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

IT IS FURTHER ORDERED that any financial or brokerage institution,
Electronic Data Host, credit card processor, payment processor, merchant bank, acquiring
bank, independent sales organization, third party processor, payment gateway, insurance
company, business entity, or person who receives actual notice of this Order (by service or
otherwise) that:

(a) has held, controlled, or maintained custody, through an account or otherwise,
of any Document on behalf of any Defendant or any Asset that has been owned or
controlled, directly or indirectly, by any Defendant; held, in part or in whole, for the benefit
of any Defendant; in the actual or constructive possession of any Defendant; or owned or
controlled by, in the actual or constructive possession of, or otherwise held for the benefit
of, any corporation, partnership, asset protection trust, or other entity that is directly or
indirectly owned, managed or controlled by any Defendant;

(b) has held, controlled, or maintained custody, through an account or otherwise,
of any Document or Asset associated with credits, debits, or charges made on behalf of any
Defendant, including reserve funds held by payment processors, credit card processors,
merchant banks, acquiring banks, independent sales organizations, third party processors,
payment gateways, insurance companies, or other entities; or

(c) has extended credit to any Defendant, including through a credit card

account, shall:

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 55 of 111

Case 2:1

Oo ee st NHN HW F&F WY NO =

NO NY NH NO ND WN NH ND NY HF HF KF HF HF FSF Fe Oe OS
So TN vA FBP WD NY K|§ FT OO FH HD HD WT BPW NY KS CS

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 10 of 64

A. Hold, preserve, and retain within its control and prohibit the withdrawal,
removal, alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation,
relinquishment, conversion, sale, or other disposal of any such Document or Asset, as well
as all Documents or other property related to such Assets, except by further order of this
Court; provided, however, that this provision does not prohibit an Individual Defendant
from incurring charges on a personal credit card established prior to entry of this Order, up
to the pre-existing credit limit;

B. Deny any person, except the Temporary Receiver, access to any safe deposit
box, commercial mail box, or storage facility that is titled in the name of any Defendant,
either individually or jointly, or otherwise subject to access by any Defendant;

C. Provide Plaintiff's counsel and the Temporary Receiver, within 3 days of
receiving a copy of this Order, a sworn statement setting forth, for each Asset or account
covered by this Section:

1. The identification number of each such account or Asset;

2. The balance of each such account, or a description of the nature and
value of each such Asset as of the close of business on the day on
which this Order is served, and, if the account or other Asset has been
closed or removed, the date closed or removed, the total funds
removed in order to close the account, and the name of the person or
entity to whom such account or other Asset was remitted; and

3. The identification of any safe deposit box, commercial mail box, or
storage facility that is either titled in the name, individually or jointly,
of any Defendant, or is otherwise subject to access by any Defendant;
and

D. Upon the request of Plaintiffs counsel or the Temporary Receiver, promptly
provide Plaintiff’s counsel and the Temporary Receiver with copies of all records or other
Documents pertaining to any account covered by this Section or Asset, including originals

or copies of account applications, account statements, signature cards, checks, drafts,

-10-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 56 of 111

Case 2:1

Co me ND OH BP WY YN =

NO NO NO NO NH NO NY NY NY =] =| — KH Se He Fe ee Re
ao SN WN OH BP WD Ne FY OS Oo Oo HTD HD OH FR WO NO KH OC

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 11 of 64

deposit tickets, transfers to and from the accounts, including wire transfers and wire
transfer instructions, all other debit and credit instruments or slips, currency transaction
reports, 1099 forms, and all logs and records pertaining to safe deposit boxes, commercial
mail boxes, and storage facilities.

Provided, however, that this Section does not prohibit any transfers to the
Temporary Receiver or repatriation of foreign Assets specifically required by this order.

Vv. FINANCIAL DISCLOSURES

IT IS FURTHER ORDERED that the Corporate Defendants, James D. Noland,
Jr., Lina Noland, and Scott A. Harris, within 5 days of service of this Order, shall prepare
and deliver to Plaintiff's counsel and the Temporary Receiver:

A. completed financial statements on the forms attached to this Order as
Attachment A (Financial Statement of Individual Defendant) for each Individual
Defendant, and Attachment B (Financial Statement of Corporate Defendant) for each
Corporate Defendant; and

B. completed Attachment C (IRS Form 4506, Request for Copy of a Tax
Return) for each Individual and Corporate Defendant.”

VI. FOREIGN ASSET REPATRIATION

IT IS FURTHER ORDERED that within 5 days following the service of this
Order, the Corporate Defendants, James D. Noland, Jr., Lina Noland, and Scott A. Harris
shall:

A. Provide Plaintiffs counsel and the Temporary Receiver with a full
accounting, verified under oath and accurate as of the date of this Order, of all Assets,
Documents, and accounts outside of the United States which are: (1) titled in the name,

individually or jointly, of any Defendant; (2) held by any person or entity for the benefit of

 

2 The obligations in Sections V and VI do not apply to Thomas G. Sacca, Jr. Although
the FTC has provided evidence of the immediate need to identify further assets held by the
other Individual Defendants, the same showing has not been made as to Sacca. It is a
significant step to require an individual who has not been found guilty of any crime, not
been found liable for any civil wrongdoing, and not yet had a chance to be heard to disclose
his financial and tax history to the FTC. Thus, Sacca is not required to make the financial
disclosures discussed in Section V and VI at this early juncture of the case.

-ll-

 
Cas

Case 2:1

oOo Se HNN nH BP W NO —

NY NY NY NY NY NY NY NN NO BH HF HS HOO ee Se S| Se
Oo aT NH WH BP WwW NY &§ CFS OF IT HD NT HR WO NO KF CO

 

 

6 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 57 of 111

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 12 of 64

any Defendant or for the benefit of any corporation, partnership, asset protection trust, or
other entity that is directly or indirectly owned, managed or controlled by any Defendant;
or (3) under the direct or indirect control, whether jointly or singly, of any Defendant;

B. Take all steps necessary to provide Plaintiffs counsel and Temporary
Receiver access to all Documents and records that may be held by third parties located
outside of the territorial United States of America, including signing the Consent to Release
of Financial Records appended to this Order as Attachment D.

C. Transfer to the territory of the United States all Documents and Assets
located in foreign countries which are: (1) titled in the name, individually or jointly, of any
Defendant; (2) held by any person or entity for the benefit of any Defendant or for the
benefit of any corporation, partnership, asset protection trust, or other entity that is directly
or indirectly owned, managed or controlled by any Defendant; or (3) under the direct or
indirect control, whether jointly or singly, of any Defendant; and

D. The same business day as any repatriation, (1) notify the Temporary Receiver
and counsel for Plaintiff of the name and location of the financial institution or other entity
that is the recipient of such Documents or Assets; and (2) serve this Order on any such
financial institution or other entity.

VII. NON-INTERFERENCE WITH REPATRIATION

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any
of them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from taking any action, directly or indirectly,
which may result in the encumbrance or dissipation of foreign Assets, or in the hindrance
of the repatriation required by this Order, including, but not limited to:

A. Sending any communication or engaging in any other act, directly or
indirectly, that results in a determination by a foreign trustee or other entity that a “duress”
event has occurred under the terms of a foreign trust agreement until such time that all

Defendants’ Assets have been fully repatriated pursuant to this Order; or

-12-

 
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 58o0f111

Case 2:1

Oo Oo SN HD OH BP W NO —

oO NN OH FP WN KH OD OF HIT DWN BF W VY KS CS

 

 

0-cv-00047-DWL *SEALED* ‘Document 21 *SEALED* Filed 01/13/20 Page 13 of 64

B. Notifying any trustee, protector or other agent of any foreign trust or other
related entities of either the existence of this Order, or of the fact that repatriation is
required pursuant to a court order, until such time that all Defendants’ Assets have been
fully repatriated pursuant to this Order.

VII. CONSUMER CREDIT REPORTS

IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning
any Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.
1681b(a)(1), and that, upon written request, any credit reporting agency from which such
reports are requested shall provide them to Plaintiff.

IX. PRESERVATION OF RECORDS

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any
of them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from:

A. Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,
transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents
that relate to: (1) the business, business practices, Assets, or business or personal finances
of any Defendant; (2) the business practices or finances of entities directly or indirectly
under the control of any Defendant; or (3) the business practices or finances of entities
directly or indirectly under common control with any other Defendant; and

B. Failing to create and maintain Documents that, in reasonable detail,
accurately, fairly, and completely reflect Defendants’ incomes, disbursements,
transactions, and use of Defendants’ Assets.

X. PRESERVATION OF RECORDS BY THIRD PARTIES

IT IS FURTHER ORDERED that any person who receives actual notice of this
Order (by service or otherwise) that has held, controlled, or maintained custody of any
Document on behalf of any Defendant that relates to the business or business practices of

any Defendant or of any directly or indirectly under the control of any Defendant are

-13-

 
Cas

Case 2:1

oO eo HN HD nH FP WD YPN —

NO NO NO NO HN NH PP HN HN FF FR K&S HF KF HR eS Se SS
oo SND Wn FP WY NY K& OD CO Fe DH vA FBP WO NY | OS

 

 

6 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 59 of 111.

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 14 of 64

hereby restrained and enjoined from destroying, erasing, falsifying, writing over,
mutilating, concealing, altering, transferring, or otherwise disposing of, in any manner,
directly or indirectly, any such Documents.
XI. REPORT OF NEW BUSINESS ACTIVITY

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any
of them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from creating, operating, or exercising any
control over any business entity, whether newly formed or previously inactive, including
any partnership, limited partnership, joint venture, sole proprietorship, or corporation,
without first providing Plaintiff's counsel and the Receiver with a written statement
disclosing: (1) the name of the business entity; (2) the address and telephone number of
the business entity; (3) the names of the business entity’s officers, directors, principals,
managers, and employees; and (4) a detailed description of the business entity’s intended
activities.

XII. INTERNATIONAL TRAVEL RESTRICTIONS AND SURRENDER OF
PASSPORTS—WRIT NE EXEAT

IT IS FURTHER ORDERED that the FTC’s motion for a writ ne exeat republica
as to James D. Noland is denied. As an initial matter, it is unclear whether such a writ is
available in this circumstance. The great majority of cases, including the jurisprudential
underpinning of the modern writ ne exeat, found authority to grant such a writ in 26 U.S.C.
§ 7402. See, e.g., United States v. Shaheen, 445 F.2d 6, 9 n.4 (7th Cir. 1971). Title 26 is
the tax code—no analogue to § 7402 exists in Title 15, under which the FTC brings this
action. Although counsel for the FTC indicated the All Writs Act, 28 U.S.C. § 1651,
provides a basis for the requested writ in this case, the Court has not found any authority
relying on the All Writs Act to issue such a writ. Shaheen itself does not cite the All Writs
Act but relies entirely on § 7402.

-14-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 60 of 111

Case 2°]

So Fe ND nT FP W NO =

yo NYO NO NY NY NY WN NN NY He HH FF Fe SF Se Re Se ee
oN DN OH SF WN K§ CD OO CO TD DB A FBP WO NH KH CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 15 of 64

Moreover, even if the Court had the authority to grant a writ ne exeat republica, it
is not warranted in this case. A writ ne exeat republica is “an extraordinary writ” that
requires a showing of “exceptional circumstances.” Shaheen, 445 F.2d at 10. The FTC has
failed to show such circumstances here. The FTC seeks this writ against James Noland
only. The materials submitted by the FTC suggest that Noland left the United States
months ago and has been absent from the country for an extended period of time. (Doc. 8
at 51.) It is unclear how a writ designed to keep Noland in the country would be of any
benefit now that Noland is out of the country. Also, although the FTC argues that the writ
is necessary to prevent the movement of Noland’s assets out of the United States, it is
unclear whether the addition of the writ (which may be beyond the Court’s powers) would
actually further this goal in light of the other (broad) relief the Court is granting.

XII. THIRD PARTY INTERNATIONAL TRAVEL PROVIDERS

IT IS FURTHER ORDERED that, in light of the Court’s decision on the writ ne
exeat republica, the FTC’s request to enjoin common carriers from providing international
travel to Noland is denied. The Court also notes that, even if it had granted the writ, it is
not at all clear that it could practicably order common carriers to prevent Noland’s travels.

XIV. TAMPERING

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any
of them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from, in the course of this proceeding:

A. Using or attempting to use force, the threat of force, or payment to influence,

delay, or prevent the testimony of any person;

B. Causing or inducing, or attempting to cause or induce, any person to:
1. withhold testimony, or withhold a Document or other object;
2. alter, destroy, mutilate, or conceal any Document or other object with

intent to impair the integrity or availability of the item;

-15-

 
Cas

Case 2:1

Oo ee NTN HD OW BP WY NO

Oo NO NYO NO ND WH NHN HN NO HH HF FH KF FF FEF FEF SS ee
oo sn HD nA FP WN KH OF OO Ben HD Nn BP WO NPB KF OC

 

 

6 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 61 of 111

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 16 of 64

3. evade legal process summoning that person to appear as a witness, or
to produce Document(s) or other object(s); or
4. be absent from an official proceeding to which that person has been
summoned by legal process.
XV. TEMPORARY RECEIVER

IT IS FURTHER ORDERED that attorney Kimberly Friday is appointed as
temporary receiver of the Receivership Entities with full powers of an equity receiver. The
Temporary Receiver shall be solely the agent of this Court in acting as Temporary Receiver
under this Order.

XVI. DUTIES AND AUTHORITY OF THE TEMPORARY RECEIVER

IT IS FURTHER ORDERED that the Temporary Receiver is directed and
authorized to accomplish the following:

A. Assume full control of Receivership Entities by removing, as the Temporary
Receiver deems necessary or advisable, any director, officer, independent contractor,
employee, attorney, or agent of any Receivership Entity from control of, management of,
or participation in, the affairs of the Receivership Entity;

B. Take exclusive custody, control, and possession of all Assets and Documents
of, or in the possession, custody, or under the control of, any Receivership Entity, wherever
situated;

C. Take exclusive custody, control, and possession of all Documents or Assets
associated with credits, debits, or charges made on behalf of any Receivership Entity,
wherever situated, including reserve funds held by payment processors, credit card
processors, merchant banks, acquiring banks, independent sales organizations, third party
processors, payment gateways, insurance companies, or other entities;

D. Conserve, hold, manage, and prevent the loss of all Assets of the
Receivership Entities, and perform all acts necessary or advisable to preserve the value of
those Assets. The Temporary Receiver shall assume control over the income and profits

therefrom and all sums of money now or hereafter due or owing to the Receivership

-16-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 62 of 111

Case 2°]

oOo Oo HN HD nH FP WY YN

NO NO NO WN NY KN YN WN NY HH HF Fe RFR Fe Se ee RS ee
oO nN HN WH FP YW NY K& CO CO MBH HDB vA BP WW NY K& CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 17 of 64

Entities. The Temporary Receiver shall have full power to sue for, collect, and receive, all
Assets of the Receivership Entities and of other persons or entities whose interests are now
under the direction, possession, custody, or control of, the Receivership Entities. Provided,
however, that the Temporary Receiver shall not attempt to collect any amount from a
consumer if the Temporary Receiver believes the consumer’s debt to the Receivership
Entities has resulted from the deceptive acts or practices or other violations of law alleged
in the Complaint in this matter, without prior Court approval;

E. Obtain, conserve, hold, manage, and prevent the loss of all Documents of the
Receivership Entities, and perform all acts necessary or advisable to preserve such
Documents. The Temporary Receiver shall: divert mail; preserve all Documents of the
Receivership Entities that are accessible via electronic means (such as online access to
financial accounts and access to electronic documents held onsite or by Electronic Data
Hosts, by changing usernames, passwords or other log-in credentials; take possession of
all electronic Documents of the Receivership Entities stored onsite or remotely; take
whatever steps necessary to preserve all such Documents; and obtain the assistance of the
FTC’s Digital Forensic Unit, as the FTC may provide in its discretion, for the purpose of
obtaining electronic documents stored onsite or remotely.

F. Choose, engage, and employ attorneys, accountants, appraisers, and other
independent contractors and technical specialists, as the Temporary Receiver deems
advisable or necessary in the performance of duties and responsibilities under the authority
granted by this Order;

G. Make payments and disbursements from the receivership estate that are
necessary or advisable for carrying out the directions of, or exercising the authority granted
by, this Order, and to incur, or authorize the making of, such agreements as may be
necessary and advisable in discharging his or her duties as Temporary Receiver. The
Temporary Receiver shall apply to the Court for prior approval of any payment of any debt
or obligation incurred by the Receivership Entities prior to the date of entry of this Order,

-17-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 63 of 111

Case 2:1

oOo ee SYN HN DW FP WW YN

BO NO NO NO NO NO WH WN KN RH Fe Fe Fe =e =| ee
oO nN DH NH BPW NHN FY DBD 6 FB HT HD WH BF W NY KH OC

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 18 of 64

except payments that the Temporary Receiver deems necessary or advisable to secure
Assets of the Receivership Entities, such as rental payments;

H. Take all steps necessary to secure and take exclusive custody of each location
from which the Receivership Entities operate their businesses. Such steps may include,
but are not limited to, any of the following, as the Temporary Receiver deems necessary or
advisable: (1) securing the location by changing the locks and alarm codes and
disconnecting any internet access or other means of access to the computers, servers,
internal networks, or other records maintained at that location; and (2) requiring any
persons present at the location to leave the premises, to provide the Temporary Receiver
with proof of identification, and/or to demonstrate to the satisfaction of the Temporary
Receiver that such persons are not removing from the premises Documents or Assets of
the Receivership Entities. Law enforcement personnel, including, but not limited to, police
or sheriffs, may assist the Temporary Receiver in implementing these provisions in order
to keep the peace and maintain security. If requested by the Temporary Receiver, the
United States Marshal will provide appropriate and necessary assistance to the Temporary
Receiver to implement this Order and is authorized to use any necessary and reasonable
force to do so;

I. Take all steps necessary to prevent the modification, destruction, or erasure
of any web page or website registered to and operated, in whole or in part, by any
Defendants, and to provide access to all such web page or websites to Plaintiff's

representatives, agents, and assistants, as well as Defendants and their representatives;

J. Enter into and cancel contracts and purchase insurance as advisable or
necessary;
K. Prevent the inequitable distribution of Assets and determine, adjust, and

protect the interests of consumers who have transacted business with the Receivership

Entities;

-18-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 64 of 111

Case 2:3

So Fe HD NH TH HB WD NY

NY NO NYO NO NH NHN YN NY NO HR He FF FS Se Re eS Se ee
on NHN UN BP WY NY S& CDT OO Oo AIT HD NT BR WwW NH KK OC

e

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 19 of 64

L. Make an accounting, as soon as practicable, of the Assets and financial
condition of the receivership and file the accounting with the Court and deliver copies
thereof to all parties;

M. Institute, compromise, adjust, appear in, intervene in, defend, dispose of,
accept or direct service of process for, or otherwise become party to any legal action in
state, federal or foreign courts or arbitration proceedings as the Temporary Receiver deems
necessary and advisable to preserve or recover the Assets of the Receivership Entities, or
to carry out the Temporary Receiver’s mandate under this Order, including but not limited
to, actions challenging fraudulent or voidable transfers;

N. Issue subpoenas to obtain Documents and records pertaining to the
Receivership, and conduct discovery in this action on behalf of the receivership estate, in
addition to obtaining other discovery as set forth in this Order;

O. Open one or more bank accounts at designated depositories for funds of the
Receivership Entities. The Temporary Receiver shall deposit all funds of the Receivership
Entities in such designated accounts and shall make all payments and disbursements from
the receivership estate from such accounts. The Temporary Receiver shall serve copies of

monthly account statements on all parties;

P. Maintain accurate records of all receipts and expenditures incurred as
Temporary Receiver;
Q. Allow the Plaintiffs’ representatives, agents, and assistants, as well as

Defendants’ representatives and Defendants themselves, reasonable access to the premises
of the Receivership Entities, or any other premises where the Receivership Entities conduct
business. The purpose of this access shall be to inspect and copy any and all books, records,
Documents, accounts, and other property owned by, or in the possession of, the
Receivership Entities or their agents. The Temporary Receiver shall have the discretion to

determine the time, manner, and reasonable conditions of such access;

-19-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 65 of 111

Case 2:4

oO Se YIN HD SP W YN

NO NO NH NO NH NY YN NHN HN FF Ff Fe FF FS SF HP OS S|
oOo NN UN BP YW Ne KH COS CO BAN DH Nn BW HPO KH CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 20 of 64

R. Allow the Plaintiffs’ representatives, agents, and assistants, as well as
Defendants and their representatives reasonable access to all Documents in the possession,
custody, or control of the Receivership Entities;

S. Cooperate with reasonable requests for information or assistance from any
state or federal civil or criminal law enforcement agency;

T. Suspend business operations of the Receivership Entities if in the judgment
of the Temporary Receiver such operations cannot be continued legally and profitably;

U. If the Temporary Receiver identifies a nonparty entity as a Receivership
Entity, promptly notify the entity as well as the parties, and inform the entity that it can
challenge the Temporary Receiver’s determination by filing a motion with the Court.
Provided, however, that the Temporary Receiver may delay providing such notice until the
Temporary Receiver has established control of the nonparty entity and its assets and
records, if the Temporary Receiver determines that notice to the entity or the parties before
the Temporary Receiver establishes control over the entity may result in the destruction of —
records, dissipation of assets, or any other obstruction of the Temporary Receiver’s control
of the entity; and

V. If in the Temporary Receiver’s judgment the business operations cannot be
continued legally and profitably, take all steps necessary to ensure that any of the
Receivership Entities’ web pages or websites relating to the activities alleged in the
Complaint cannot be accessed by the public, or are modified for consumer education and/or
informational purposes, and take all steps necessary to ensure that any telephone numbers
associated with the Receivership Entities cannot be accessed by the public, or are answered
solely to provide consumer education or information regarding the status of operations.

W. Prepare a written report at or before any hearing described in Section XXIX,
that describes (1) the steps taken by the Receiver to implement the terms of the Order; (2)
the value of all assets and sum of all liabilities of the Receivership Entities; (3) the steps
the Receiver intends to take in the future to protect receivership assets, recover receivership

assets from third parties, and adjust receivership liabilities; (4) the Receiver’s opinion on

-20 -

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 66 of 111

Case 2:3

oO fF IN KH OO BP WY NPY

No No NO NH WH bt No NO bv — — — —_ —  — _ — _ —
eo SDN WN &- WN |& FS 0 FH HD HT BP wW.N KH OC

yi

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 21 of 64

whether any portion of the business of any of the Receivership Entities can continue to
operate legally and profitably; and (5) any other matters which the Receiver believes should
be brought to the Court’s attention.
XVII. TRANSFER OF RECEIVERSHIP PROPERTY TO THE TEMPORARY
RECEIVER

IT IS FURTHER ORDERED that Defendants and any other person, with
possession, custody or control of property of, or records relating to, the Receivership
Entities shall, upon notice of this Order by personal service or otherwise, fully cooperate
with and assist the Temporary Receiver in taking and maintaining possession, custody, and
control of the Assets and Documents of the Receivership Entities and immediately transfer
or deliver to the Temporary Receiver possession, custody, and control of, the following:

A. _ All Assets held by or for the benefit of the Receivership Entities;

B. All Documents or Assets associated with credits, debits, or charges made on
behalf of any Receivership Entity, wherever situated, including reserve funds held by
payment processors, credit card processors, merchant banks, acquiring banks, independent
sales organizations, third party processors, payment gateways, insurance companies, or
other entities;

C. All Documents of or pertaining to the Receivership Entities, including all
communications occurring via electronic mail, electronic messaging service, or
encrypted messaging service (including Silent Circle or WhatsApp);

D. All computers, electronic devices, mobile devices, and machines used to
conduct the business of the Receivership Entities, even if such computers, electronic
devices, mobile devices, and machines are also used for non-business purposes;

E. All Assets and Documents belonging to other persons or entities whose
interests are under the direction, possession, custody, or control of the Receivership
Entities; and

F, All keys, codes, user names and passwords necessary to gain or to secure

access to any Assets or Documents of or pertaining to the Receivership Entities, including

-21-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 67 of 111

Case 2:7]

So ee ST NHN OT FP WY NO =

NY NO WN NH YH NH NY WN NHN FR FF FF HF Se Se Re Re ee
ao nN KH UH FP WN KF DO FH DH nH FF W NY | CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 22 of 64

access to their business premises, means of communication, accounts, computer systems
(onsite and remote), Electronic Data Hosts, encrypted messaging services (including Silent
Circle and WhatsApp), or other property.

In the event that any person or entity fails to deliver or transfer any Asset or
Document, or otherwise fails to comply with any provision of this Section, the Temporary
Receiver may file an Affidavit of Non-Compliance regarding the failure and a motion
seeking compliance or a contempt citation.

XVII. PROVISION OF INFORMATION TO THE TEMPORARY
RECEIVER

IT IS FURTHER ORDERED that Defendants shall immediately provide to the
Temporary Receiver:

A. A list of all Assets and accounts of the Receivership Entities that are held in
any name other than the name of a Receivership Entity, or by any person or entity other
than a Receivership Entity;

B. A list of all agents, employees, officers, attorneys, servants and those persons
in active concert and participation with the Receivership Entities, or who have been
associated or done business with the Receivership Entities; and

C. A description of any documents covered by attorney-client privilege or
attorney work product, including files where such documents are likely to be located,
authors or recipients of such documents, and search terms likely to identify such electronic
documents.

XIX. COOPERATION WITH THE TEMPORARY RECEIVER

IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’
or Receivership Entities’ officers, agents, employees, and attorneys, all other persons in
active concert or participation with any of them, and any other person with possession,
custody, or control of property of or records relating to the Receivership entities who
receive actual notice of this Order shall fully cooperate with and assist the Temporary

Receiver. This cooperation and assistance shall include, but is not limited to, providing

-22-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 68 of 111

Case 2:1

oOo FF HTD KH OH FP WY YN

NH NO WN NO NO WN NO HNO NOR ee eee
oO ND OH Ff Ww NHN KF DO fF TD HD WwW BP WO NH KK OC

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 23 of 64

information to the Temporary Receiver that the Temporary Receiver deems necessary to
exercise the authority and discharge the responsibilities of the Temporary Receiver under
this Order; providing any keys, codes, user names and passwords required to access any
computers, electronic devices, mobile devices, and machines (onsite or remotely) and any
cloud account (including the specific methods to access that account) or electronic file in
any medium; advising all persons who owe money to any Receivership Entity that all debts
should be paid directly to the Temporary Receiver; and transferring funds at the Temporary
Receiver’s direction and producing records related to the Assets and sales of the
Receivership Entities.
XX. NON-INTERFERENCE WITH THE TEMPORARY RECEIVER

IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’
or Receivership Entities’ officers, agents, employees, attorneys, and all other persons in
active concert or participation with any of them, who receive actual notice of this Order,
and any other person served with a copy of this Order, are hereby restrained and enjoined
from directly or indirectly:

A. Interfering with the Temporary Receiver’s efforts to manage, or take
custody, control, or possession of, the Assets or Documents subject to the receivership;

B. Transacting any of the business of the Receivership Entities;

C. Transferring, receiving, altering, selling, encumbering, pledging, assigning,
liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession
or custody of, or in which an interest is held or claimed by, the Receivership Entities; or

D. Refusing to cooperate with the Temporary Receiver or the Temporary
Receiver’s duly authorized agents in the exercise of their duties or authority under any
order of this Court.

XXI. STAY OF ACTIONS

IT IS FURTHER ORDERED that, except by leave of this Court, during the

pendency of the receivership ordered herein, Defendants, Defendants’ officers, agents,

employees, attorneys, and all other persons in active concert or participation with any of

-23-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 69 of 111

Case 2:3

oO fe SN HD OO SP WY NO RK

NO NO NO NO NY NH ND NY WN KF KF HF Fe FO Se ee ee ee
Oo nN Nn NN BP YW NY K& OD OBO DOHA KH WA BW NO KF OC

vy

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 24 of 64

them, who receive actual notice of this Order, and their corporations, subsidiaries,
divisions, or affiliates, and all investors, creditors, stockholders, lessors, customers and
other persons seeking to establish or enforce any claim, right, or interest against or on
behalf of Defendants, and all others acting for or on behalf of such persons, are hereby
enjoined from taking action that would interfere with the exclusive jurisdiction of this
Court over the Assets or Documents of the Receivership Entities, including, but not limited
to:

A. Filing or assisting in the filing of a petition for relief under the Bankruptcy
Code, 11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the
Receivership Entities;

B. Commencing, prosecuting, or continuing a judicial, administrative, or other
action or proceeding against the Receivership Entities, including the issuance or
employment of process against the Receivership Entities, except that such actions may be
commenced if necessary to toll any applicable statute of limitations; or

C. Filing or enforcing any lien on any asset of the Receivership Entities, taking
or attempting to take possession, custody, or control of any Asset of the Receivership
Entities; or attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of
the Receivership Entities, whether such acts are part of a judicial proceeding, are acts of
self-help, or otherwise;

Provided, however, that this Order does not stay: (1) the commencement or
continuation of a criminal action or proceeding; (2) the commencement or continuation of
an action or proceeding by a governmental unit to enforce such governmental unit’s police
or regulatory power; or (3) the enforcement of a judgment, other than a money judgment,
obtained in an action or proceeding by a governmental unit to enforce such governmental
unit’s police or regulatory power.

XXII. COMPENSATION OF THE TEMPORARY RECEIVER
IT IS FURTHER ORDERED that the Temporary Receiver and all personnel hired

by the Temporary Receiver as herein authorized, including counsel to the Temporary

-24-

 
Cas,

Case 2:1

oo fe SI NHN OT FP W NO =

NO NO NO HN WH HY NHN NH HNO FF KF Fe He Re Se eS ee eee
oN DN HN FSF WY NY S&S DOD O GSH DT DB nA BP WH NO —& OC

 

 

e 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 70 of 111
0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 25 of 64

Receiver and accountants, are entitled to reasonable compensation for the performance of
duties pursuant to this Order and for the cost of actual out-of-pocket expenses incurred by
them, from the Assets now held by, in the possession or control of, or which may be
received by, the Receivership Entities. The Temporary Receiver shall file with the Court
and serve on the parties periodic requests for the payment of such reasonable
compensation, with the first such request filed no more than 60 days after the date of entry
of this Order. The Temporary Receiver shall not increase the hourly rates used as the bases
for such fee applications without prior approval of the Court.
XXII. TEMPORARY RECEIVER’S BOND

IT IS FURTHER ORDERED that the Receiver is not required to file with the
Clerk of this Court a bond until further order of the Court, conditioned that the Receiver
will well and truly perform the duties of the office and abide by and perform all acts the
Court directs.

XXIV. IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

IT IS FURTHER ORDERED that:

A. In order to allow Plaintiff and the Temporary Receiver to preserve Assets
and evidence relevant to this action and to expedite discovery, Plaintiff and the Temporary
Receiver, and their representatives, agents, contractors, and assistants, shall have
immediate access to the business premises and storage facilities, owned, controlled, or used
by the Receivership Entities. Such locations include, but are not limited to, 4465 W Sunset
Rd, Las Vegas, NV 89118, 2875 St Rose Pkwy Henderson, NV 89052, 18 E Broadway,
Winchester, KY 40391 and any offsite location, commercial mailbox, or storage facility
used by the Receivership Entities. The Temporary Receiver may exclude Defendants,
Receivership Entities, and their employees from the business premises during the
immediate access and subsequently at the Temporary Receiver’s discretion.

B. Plaintiff and the Temporary Receiver, and their representatives, agents,
contractors, and assistants, are authorized to remove Documents from the Receivership

Entities’ premises in order that they may be inspected, inventoried, and copied. Plaintiff

-25-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 71 of 111

Case 2:4

So Se SI NH WH FP W YN

NO NO NO NY NH LH KHYO HN NOR RF Se Se RO ee ee ee
oO NN NH FP WD NY KH DOD CO RBA HD NH BR WD NY KH OC

4

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 26 of 64

shall return any removed materials to the Temporary Receiver within 5 business days of
completing inventorying and copying, or such time as is agreed upon by Plaintiff and the
Temporary Receiver;

C. Plaintiff's access to the Receivership Entities’ documents pursuant to this
Section shall not provide grounds for any Defendant to object to any subsequent request
for documents served by Plaintiff;

D. Plaintiff and the Temporary Receiver, and their representatives, agents,
contractors, and assistants, are authorized to obtain the assistance of federal, state and local
law enforcement officers as they deem necessary to effect service and to implement
peacefully the provisions of this Order;

E. If any Documents, computers, or electronic storage devices containing
information related to the business practices or finances of the Receivership Entities are at
a location other than those listed herein, including personal residence(s) of any Defendant,
then, immediately upon receiving notice of this order, Defendants and Receivership
Entities shall produce to the Temporary Receiver all such Documents, computers, and
electronic storage devices, along with any codes or passwords needed for access. In order
to prevent the destruction of computer data, upon service of this Order, any such computers
or electronic storage devices shall be powered down in the normal course of the operating
system used on such devices and shall not be powered up or used until produced for
copying and inspection; and

F, If any communications or records of any Receivership Entity are stored with
an Electronic Data Host, such entity shall, immediately upon receiving notice of this Order,
provide the Temporary Receiver with the username, passwords, and any other login
credential needed to access the communications and records, and shall not attempt to
access, or cause a third-party to attempt to access, the communications or records.

XXV. DISTRIBUTION OF ORDER BY DEFENDANTS
IT IS FURTHER ORDERED that Defendants shall immediately provide a copy

of this Order to each affiliate, telemarketer, marketer, sales entity, successor, assign,

- 26 -

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 72 of 111

Case 2:1

So Se SN HD On Se WD YN

NO NO NH HO YN HN HN WKN HN RHR Se He Se S| ee eee
oN DN A FBP WY NY K|&§& OD O SB DQ NDA HA BB WO NO KF CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 27 of 64

member, officer, director, employee, agent, independent contractor, client, attorney,
spouse, subsidiary, division, and representative of any Defendant, and shall, within 10 days
from the date of entry of this Order provide Plaintiff and the Temporary Receiver with a
sworn statement whether this provision of the Order has been satisfied, which statement
shall include the names, physical addresses, phone number, and email addresses of each
such person or entity who received a copy of the Order. Furthermore, Defendants shall not
take any action that would encourage any person who should receive a copy of this Order
or any other persons or entities in active concert or participation with them to disregard this
Order or believe that they are not bound by its provisions.
XXVI. EXPEDITED DISCOVERY

IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R.
Civ. P. 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 33, 34, and
45, Plaintiff and the Temporary Receiver are granted leave, at any time after service of this
Order, to conduct limited expedited discovery for the purpose of discovering: (1) the
nature, location, status, and extent of Defendants’ Assets; (2) the nature, location, and
extent of Defendants’ business transactions and operations; (3) Documents reflecting
Defendants’ business transactions and operations; or (4) compliance with this Order. The
limited expedited discovery set forth in this Section shall proceed as follows:

A. Plaintiff and the Temporary Receiver may take the deposition of parties and
non-parties. Forty-eight (48) hours’ notice shall be sufficient notice for such depositions.
The limitations and conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal
Rules of Civil Procedure regarding subsequent depositions of an individual shall not apply
to depositions taken pursuant to this Section. Any such deposition taken pursuant to this
Section shall not be counted towards the deposition limit set forth in Rules 30(a)(2)(A) and

31(a)(2)(A) and depositions may be taken by telephone or other remote electronic means;

 

3 For the reasons set forth in footnote 2, supra, Thomas G. Sacca, Jr. is excluded from
this requirement. He remains subject to the remaining requirements of this section.

-27-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 73 of 111

Case 2:1

co Se SN ND nH BP WD YN

NO NO NY NO YN NHN HN KN NNO Be —R em mee eee
oO nN Dn ON FBP WN KH DO FAH NH BPW NY KF COC

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 28 of 64

B. Plaintiff and the Temporary Receiver may serve upon parties requests for
production of Documents or inspection that require production or inspection within 5 days
of service, provided, however, that 3 days of notice shall be deemed sufficient for the
production of any such Documents that are maintained or stored only in an electronic
format.

C. Plaintiff and the Temporary Receiver may serve upon parties interrogatories
that require response within 5 days after Plaintiff serves such interrogatories;

D. The Plaintiff and the Temporary Receiver may serve subpoenas upon non-
parties that direct production or inspection within 5 days of service.

E. Service of discovery upon a party to this action, taken pursuant to this
Section, shall be sufficient if made by facsimile, email, or by overnight delivery.

F, Any expedited discovery taken pursuant to this Section is in addition to, and
is not subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure
and the Local Rules of this Court. The expedited discovery permitted by this Section does
not require a meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the
Federal Rules of Civil Procedure.

G. The parties are exempted from making initial disclosures under Fed. R. Civ.
P. 26(a)(1) until further order of this Court.

XXVII. SERVICE OF THIS ORDER

IT IS FURTHER ORDERED that copies of this Order as well as the Motion for
Temporary Restraining Order and all other pleadings, Documents, and exhibits filed
contemporaneously with that Motion (other than the complaint and summons), may be
served by any means, including facsimile transmission, electronic mail or other electronic
messaging, personal or overnight delivery, U.S. Mail or FedEx, by agents and employees
of Plaintiff, by any law enforcement agency, or by private process server, upon any
Defendant or any person (including any financial institution) that may have possession,
custody or control of any Asset or Document of any Defendant, or that may be subject to

any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil

- 28 -

 
Cas

Case 2:1

Oo fe SN Dn BP WY NO —

NO NO NO N NO No No No N — — — — —_ —_ —_ — —
oO ND HN HT BP WY NY K& CS OBO MPH DT DH nH BR WD YN KF CO

 

6 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 74 of 111°

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 29 of 64

Procedure. For purposes of this Section, service upon any branch, subsidiary, affiliate, or
office of any entity shall effect service upon the entire entity.
XXVIII. CORRESPONDENCE AND SERVICE ON PLAINTIFF

IT IS FURTHER ORDERED that, for the purpose of this Order, all
correspondence and service of pleadings on Plaintiff shall be addressed to:

Jonathan W. Ware, Esq.

Federal Trade Commission

Bureau of Consumer Protection | Enforcement Division

600 Pennsylvania Avenue, NW, CC-9528

Washington, DC 20580

T +1 202 326 2726

F +1 202 326 3197

jwarel @ftc.gov

XXIX. PRELIMINARY INJUNCTION HEARING

IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), the parties
shall appear before this Court in Courtroom 601, Sandra Day O’Connor United States
Courthouse, 401 W. Washington Street, Phoenix, Arizona 85003, on January 27, 2020, at
9:30 a.m. (Arizona time) for a hearing to show cause, if there is any, why this Court should
not enter a preliminary injunction, pending final ruling on the Complaint against
Defendants, enjoining the violations of the law alleged in the Complaint, continuing the
freeze of their Assets, continuing the receivership, and imposing such additional relief as
may be appropriate.

XXX. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY
INJUNCTION

IT IS FURTHER ORDERED that:

A. Defendants shall file with the Court and serve on Plaintiff's counsel any
answering pleadings, affidavits, motions, expert reports or declarations, or legal

memoranda no later than 4 days prior to the order to show cause hearing scheduled pursuant

-29 -

 

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 75 of 111

Case 2:1

Co Se IN DN OO BR WY NO =

NO NYO NYO NHN NY WN WN N NO HH HF HH Fe FR OS SS | eS
oN DN OH SF WY NY K§ COD OO CO DT HD NH BR WD NYO fF CO

 

 

0-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 30 of 64

to this Order. Plaintiff may file responsive or supplemental pleadings, materials, affidavits,
or memoranda with the Court and serve the same on counsel for Defendants no later than
1 day prior to the order to show cause hearing. Provided that such affidavits, pleadings,
motions, expert reports, declarations, legal memoranda or oppositions must be served by
personal or overnight delivery, facsimile, or email, and be received by the other party or
parties no later than 5:00 p.m. (Arizona time) on the appropriate dates set forth in this
Section.

B. An evidentiary hearing on Plaintiffs request for a preliminary injunction is
not necessary unless Defendants demonstrate that they have, and intend to introduce,
evidence that raises a genuine and material factual issue. The question of whether this
Court should enter a preliminary injunction shall be resolved on the pleadings, declarations,
exhibits, and memoranda filed by, and oral argument of, the parties. Live testimony shall
be heard only on further order of this Court. Any motion to permit such testimony shall be
filed with the Court and served on counsel for the other parties at least 5 days prior to the
preliminary injunction hearing in this matter. Such motion shall set forth the name,
address, and telephone number of each proposed witness, a detailed summary or affidavit
revealing the substance of each proposed witness’s expected testimony, and an explanation
of why the taking of live testimony would be helpful to this Court. Any papers opposing
a timely motion to present live testimony or to present live testimony in response to another
party’s timely motion to present live testimony shall be filed with this Court and served on
the other parties at least 3 days prior to the order to show cause hearing.

Provided, however, that this service shall be performed by personal or overnight
delivery, facsimile or email, and Documents shall be delivered so that they shall be
received by the other parties no later than 5:00 p.m. (Arizona time) on the appropriate dates

provided in this Section.

- 30-

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 76 of 111

 

Case 2:40-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 31 of 64
1 XXXI. DURATION OF THE ORDER
2 IT IS FURTHER ORDERED that this Order shall expire 14 days from the date of
3} entry noted below, unless within such time, the Order is extended for an additional period
4|| pursuant to Fed. R. Civ. P. 65(b)(2).
5 XXXII. RETENTION OF JURISDICTION
6 IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter
7\| for all purposes.
8 Dated this 13th day of January, 2020.
9
' frat
11 L
2 ‘ Dominic W. Lanza
United States District Judge
13
14
15
164] Cc: Plaintiff's counsel Evan Mendelson and Jonathan Ware
17
18
19
20
21
22
23
24
25
26
27
28
-31-

 

 

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 77 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 32 of 64

Attachment A
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 78 of 111.

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 33 of 64
FEDERAL TRADE COMMISSION

FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
to you. If you cannot fully answer a question, explain why.

2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
time during the past five years.

3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
by others for the benefit of you, your spouse, or your dependents.

4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
being continued. On the continuation page(s), identify the Item number(s) being continued.

5. Type or print legibly.
6. Initial each page in the space provided in the lower right corner.

7. Sign and date the completed financial statement on the last page.

Penalty for False Information:
Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

(1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

(2) “in any .. . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

(3) “in any (. .. statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.

 

Federal Trade Commission Financial Statement of Individual Defendant
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 79 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED*

Filed 01/13/20 Page 34 of 64

 

BACKGROUND INFORMATION

 

Item 1. Information About You

 

Full Name

Social Security No.

 

Current Address of Primary Residence

Driver’s License No.

 

State Issued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Phone Numbers Date of Birth: / of
Home:( ) __(mmidd/yyyy)
Fax: ( ) Place of Birth
LJRent LlOwn From (Date): / | E-Mail Address
(mmidd/yyyy)
Internet Home Page
Previous Addresses for past five years (if required, use additional pages at end of form)
Address From: / | Until: 7 /
(mm/dd/yyyy) (mm/dd/yyyy)
[Rent (JOwn
Address From: / / Until of 7
CRent (JOwn
Address From: / / Until: of  /
(Rent (Jown
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:
Item 2. Information About Your Spouse or Live-in Companion
Spouse/Companion's Name Social Security No. Date of Birth
/ of
(mmidd/yyyy)
Address (if different from yours) Phone Number Place of Birth
(_)
CJRent Clown From (Date): / /
(mmidd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:
Employer's Name and Address Job Title
Years in Present Job Annual Gross SalaryWages
$
Item 3. Information About Your Previous Spouse
Name and Address Social Security No.
Date of Birth
|
(mmidd/yyyy)
Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address Phone Number
( )
Initials:

 

Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 80 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED* Filed 01/13/20 Page 35 of 64

 

Item 5. Information About Dependents (whether or not they reside with you)

 

 

 

 

 

 

 

 

Name and Address Social Security No. Date of Birth
i of
(mmidd/yyyy)
Relationship
Name and Address Social Security No Date of Birth
|
(mm/dd/yyyy)
Relationship
Name and Address Social Security No. Date of Birth
(mmidd/yyyy)
Relationship
Name and Address Social Security No. Date of Birth
(mm/dd/yyyy)

 

 

Relationship

 

 

Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but ts not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,

royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else

on your behalf.

 

Company Name and Address

Ownership Interest? [1 Yes 1] No

Dates Employed

Income Received: Y-T-D & 5 Prior Yrs.

 

From (Month/Year) To (Month/Year)
/ /

 

Positions Held

From (Month/Year) To (Month/Year)

 

 

 

/ /
/ /
/ /

 

Company Name and Address

Ownership Interest? [] Yes 1] No

Dates Employed

 

From (Month/Year) To (Month/Year)
/ /

 

Positions Held

From (Month/Year) To (Month/Year)

 

 

 

/ /
/ /
/ /

Year Income
20 $

$

3

$

$

$
Income Received: Y-T-D & 5 Prior Yrs.
Year Income
20 $

$

$

$

$

$

 

Company Name and Address

Dates Employed

Income Received: Y-T-D & 5 Prior Yrs.

 

 

 

 

 

 

 

 

 

 

Year Income
From (Month/Year) To (Month/Year)
/ / 20 $
Ownership Interest? [1 Yes (J No $
Positions Held From (Month/Year) To (Month/Year) $
/ / $
/ / $
/ / $
Initials:

 

2 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 81 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED*

Filed 01/13/20 Page 36 of 64

 

Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At item 21, list lawsuits that
resulted in final judgments or settlements against you.

 

Caption of Proceeding

Court or Agency and Location Case No.

Nature of
Proceeding

Relief Requested

Status or
Disposition

 

 

 

 

 

 

 

 

 

 

Item 8. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.

 

Name of Owner(s)

Name & Address of Depository Institution

Box No.

Contents

 

 

 

 

 

 

 

 

Initials:

 

3 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 82 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 37 of 64

 

FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide -
all documents requested in Item 24 with your completed Financial Statement.

 

ASSETS

 

Item 9. Cash, Bank, and Money Market Accounts

List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

 

 

 

 

 

 

 

 

a. Amount of Cash on Hand $ Form of Cash on Hand
b. Name on Account Name & Address of Financial Institution Account No. Current Balance
$
$
$
$
$

 

 

 

 

Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. goverment securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Owner of Security Issuer Type of Security No. of Units Owned
Broker House, Address Broker Account No.

Current Fair Market Value Loan(s) Against Security

$ $
Owner of Security Issuer Type of Security No. of Units Owned
Broker House, Address Broker Account No

Current Fair Market Value Loan(s) Against Security

$ $
Owner of Security Issuer Type of Security No. of Units Owned
Broker House, Address Broker Account No.

Current Fair Market Value Loan(s) Against Security

$ $

Initials:

 

 

4of 10 Federal Trade Commission Financial Statement of Individual Defendant
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 83 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED*

Filed 01/13/20 Page 38 of 64

 

Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, intemational business corporation or personal investment

corporation, and oil or mineral lease.

 

Entity's Name & Address

Type of Business or Financial
Interest (e g., LLC, partnership)

Owner

(e.g., self, spouse) %

If Officer, Director, Member

Ownership
9 or Partner, Exact Title

 

 

 

 

 

 

 

 

Item 12. Amounts Owed to You, Your Spouse, or Your Dependents

 

Debtors Name & Address

Date Obligation
Incurred (Month/Year)
/

Onginal Amount Owed
$

 

Current Amount Owed
$

 

Payment Schedule
$

 

Debtor's Telephone

Debtor's Relationship to You

Nature of Obligation (if the result of a final court
judgment or settlement, provide court name
and docket number)

 

Debtor's Name & Address

Date Obligation
Incurred (Month/Year)
/

Original Amount Owed
$

 

Current Amount Owed
$

 

Payment Schedule
$

 

 

Debtor's Telephone

 

Debtor's Relationship to You

 

Nature of Obligation (if the result of a final court
judgment or settlement, provide court name
and docket number)

 

Item 13. Life Insurance Policies

List all life insurance policies (including endowment policies) with any cash surrender value

 

 

 

 

Insurance Company’s Name, Address, & Telephone No. Beneficiary Policy No. Face Value
$
Insured Loans Against Policy | Surrender Value
$ $
Insurance Company’s Name, Address, & Telephone No. Beneficiary Policy No. Face Value
$
Insured Loans Against Policy | Surrender Value
$ $

 

 

 

 

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).

 

 

 

 

 

Trustee or Administrator's Name, Address & Telephone No. Name on Account Account No
Date Established Type of Plan Surrender Value before
i of Taxes and Penalties
(mmidd/yyyy) $
Trustee or Administrator’s Name, Address & Telephone No. Name on Account Account No.
Date Established Type of Plan Surrender Value before
| Taxes and Penalties
$

 

 

 

 

5 of 10

Initials:

Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 84 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED*

Filed 01/13/20 Page 39 of 64

 

Item 15. Pending Insurance Payments or Inheritances

List any pending insurance payments or inheritances owed to you.

 

 

 

 

Type Amount Expected Date Expected (mmi/dd/yyyy)
$ i/o?
$ an |
$ i of

 

 

 

Item 16. Vehicles

List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.

 

 

 

 

 

 

Vehicle Type Year Registered Owner's Name Purchase Price Original Loan Amount | Current Balance
$ $ $
Make Registration State & No. Account/Loan No Current Value Monthly Payment
. $ $
Model Address of Vehicle’s Location Lender's Name and Address

 

 

 

 

 

 

Vehicle Type | Year Registered Owner's Name Purchase Price Original Loan Amount | Current Balance
$ $ $
Make Registration State & No. Account/Loan No. Current Value Monthly Payment
$ $
Model Address of Vehicle’s Location Lender's Name and Address

 

Vehicle Type | Year

 

Registered Owner's Name

Purchase Price

Original Loan Amount

Current Balance

 

 

 

 

$ $ $
Make Registration State & No. Account/Loan No. Current Value Monthly Payment
$ $
Model Address of Vehicle’s Location Lender's Name and Address

 

Vehicle Type | Year

 

Registered Owner's Name

Purchase Price

Onginal Loan Amount

Current Balance

 

 

 

 

$ $ $
Make Registration State & No Account/Loan No. Current Value Monthly Payment
$ $
Model Address of Vehicle’s Location Lender's Name and Address

 

 

 

Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

 

 

 

 

 

 

 

 

 

 

(eg atvon ieocky) Name of Owner Property Location Acquisition Cost Current Value
$ $
$ $
$ $
Initials:

 

6 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 85 of 111

Case 2:20-cv-00047-DWL *SEALED*

Document 21 *SEALED*

Filed 01/13/20 Page 40 of 64

 

Item 18. Real Property

List all real property interests (including any land contract)

 

Property’s Location

 

Type of Property

 

Name(s) on Title or Contract and Ownership Percentages

 

Acquisition Date (mm/dd/yyyy)
| $

 

Purchase Price

Current Value
$

 

Basis of Valuation

 

Lender's Name and Address

Loan or Account No.

 

Current Balance On First Mortgage or
Contract

 

 

 

$
Monthly Payment
$
Other Mortgage Loan(s) (describe) Monthly Payment CJ Rental Unit
$
Current Balance Monthly Rent Received
$ $

 

 

 

Property's Location

 

Type of Property

 

Name(s) on Title or Contract and Ownership Percentages

 

Acquisition Date (mmidd/yyyy)
i of $

 

Purchase Price

Current Value
$

 

Basis of Valuation

 

Lender's Name and Address

Loan or Account No.

 

Current Balance On First Mortgage or
Contract

 

 

 

 

 

 

Poa Payment
Other Mortgage Loan(s) (describe) Monthly Payment 5 Rental Unit
Caner Balance Monthly Rent Received
$ $
LIABILITIES

 

Item 19. Credit Cards

List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.

 

Name of Credit Card (e.g., Visa,
MasterCard, Department Store)

Account No.

Name(s) on Account

Current Balance

 

 

 

 

 

 

 

 

PAA |S |

 

Item 20. Taxes Payable

List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

 

Type of Tax

Amount Owed

Year Incurred

 

 

yf

 

 

 

 

 

Initials:

 

7 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 86 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 41 of 64

 

Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents

List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.

 

Lender/Creditor's Name, Address, and Telephone No. | Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
number)

 

Lender/Creditor’s Relationship to You

 

 

 

 

 

Pate Liability Was Incurred Original Amount Owed Current Amount Owed Payment Schedule

(mmiddiyyyy) $ $

Lender/Creditor's Name, Address, and Telephone No. | Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
number)

 

Lender/Creditor’s Relationship to You

 

 

Date Lapiity Was Incurred Original Amount Owed Current Amount Owed Payment Schedule
(mmidd/yyyy) $ $

 

 

 

 

OTHER FINANCIAL INFORMATION

 

Item 22. Trusts and Escrows

List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.

 

 

 

 

, Date Established _ ‘-
Trustee or Escrow Agent’s Name & Address (mmidd/yyyy) Grantor Beneficiaries Present Market Value of Assets
/ of $
i of $
i of $

 

 

 

 

 

*If the market value of any asset is unknown, describe the asset and state its cost, if you know It.

 

Item 23. Transfers of Assets

List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.

 

 

 

 

 

 

 

 

 

 

 

: : * Transfer Date Type of Transfer
Transferee’s Name, Address, & Relationship Property Transferred Aggregate Value (mmiddlyyyy) (e-g., Loan, Gift)
$ i of
$ / of
$ fof
*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.
Initials:

 

8 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 87 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 42 of 64

 

Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

 

Federal tax returns filed during the iast three years by or on behalf of you, your spouse, or your dependents.

 

All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.

 

Item 9 For each bank account listed in Item 9, all account statements for the past 3 years.

 

For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11 most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
general ledger files from account records.

 

All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance

 

 

Item 17 purposes. You may exclude any category of property where the total appraised value of all property in that category is
less than $2,000.

Item 18 All appraisals that have been prepared for real property listed in Item 18

Item 21 Documentation for all debts listed in Item 21.

 

All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance

Item 22 appraisals that have been done for any assets held by any such trust or in any such escrow.

 

 

SUMMARY FINANCIAL SCHEDULES

 

Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Assets Liabilities
Cash on Hand (Item 9) $ Loans Against Publicly Traded Securities (Item 10) $
Funds Held in Financial Institutions (Item 9) $ Vehicles - Liens (Item 16) $
U.S. Government Securities (Item 10) $ Real Property - Encumbrances (Item 18) $
Publicly Traded Securities (Item 10) $ Credit Cards (Item 19) $
Non-Public Business and Financial Interests (Item 11) | $ Taxes Payable (Item 20) $
Amounts Owed to You (Item 12) $ Amounts Owed by You (Item 21) $
Life Insurance Policies (Item 13) $ Other Liabilities (itemize)
Deferred Income Arrangements (Item 14) $ $
Vehicles (item 16) $ $
Other Personal Property (Item 17) $ $
Real Property (Item 18) $ $
Other Assets (itemize) $
$ $
$ $
$ $
Total Assets | $ Total Liabilities $

 

 

 

 

Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.

 

 

 

 

 

 

 

 

 

Income (State source of each item) Expenses

Salary - After Taxes Mortgage or Rental Payments for Residence(s)

Source: $ $
Fees, Commissions, and Royalties Property Taxes for Residence(s)

Source: $ $
Interest Rental Property Expenses, Including Mortgage Payments, Taxes,
Source: $ and Insurance $
Dividends and Capital Gains Car or Other Vehicle Lease or Loan Payments

Source $ $
Gross Rental Income Food Expenses

Source: $ $
Profits from Sole Proprietorships Clothing Expenses

Source: $ $
Distributions from Partnerships, S-Corporations, Utilities

and LLCs $ $
Source:

 

 

 

 

Initials:

 

 

9 of 10 Federal Trade Commission Financial Statement of Individual Defendant
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 88 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 43 of 64

 

Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)

 

 

 

 

 

 

 

 

 

 

Distributions from Trusts and Estates Medical Expenses, Including Insurance
s . $ $
ource:

Distributions from Deferred Income Arrangements Other tnsurance Premiums

Source: $

Social Security Payments $ Other Transportation Expenses $

Alimony/Child Support Received $ Other Expenses (Itemize)

Gambling Income $ $

Other Income (Itemize) $
$ $
$ $
$ $

Total Income | $ Total Expenses $

 

 

 

 

ATTACHMENTS

 

Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any item 24 documents that are not attached, explain why.

 

Item No. Document Relates To Description of Document

 

 

 

 

 

 

 

 

 

 

| am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. | have used my best efforts to obtain the information requested in this statement. The
responses | have provided to the items above are true and contain all the requested facts and information of which | have
notice or knowledge. | have provided all requested documents in my custody, possession, or control. | know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). | certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

 

(Date) Signature

 

10 of 10 Federal Trade Commission Financial Statement of Individual Defendant

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 89 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 44 of 64

Attachment B
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 90 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21*SEALED* Filed 01/13/20 Page 45 of 64

FEDERAL TRADE COMMISSION

FINANCIAL STATEMENT OF CORPORATE DEFENDANT

 

Instructions:

1. Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
question, explain why.

2. The font size within each field will adjust automatically as you type to accommodate longer responses.

3. In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
predecessors that are not named defendants in this action.

4, When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
benefit of the corporation.

5. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
being continued. On the continuation page(s), identify the Item number being continued.

6. Type or print legibly.

7. An officer of the corporation must sign and date the completed financial statement on the last page and initial

each page in the space provided in the lower right corner.

Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

(1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

(2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,

willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

(3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any -
false material declaration or makes or uses any other information . . . knowing the same to contain any false
material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.

 
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 91 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 46 of 64

BACKGROUND INFORMATION

Item 1. General Information

Corporation’s Full Name

 

 

 

 

Primary Business Address From (Date)
Telephone No. Fax No.
E-Mail Address Internet Home Page

 

 

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

 

 

Address From/Until
Address From/Until
Address From/Until

 

All predecessor companies for past five years:

 

 

 

 

 

 

 

 

 

 

 

Name & Address From/Until
Name & Address From/Until
Name & Address From/Until
Item 2. Legal Information

Federal Taxpayer ID No. State & Date of Incorporation

State Tax ID No. State Profit or Not For Profit
Corporation’s Present Status: Active Inactive Dissolved

If Dissolved: Date dissolved By Whom

Reasons

Fiscal Year-End (Mo./Day) Corporation’s Business Activities

Item 3. Registered Agent

Name of Registered Agent

Address Telephone No.

 

Page 2 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 92 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 47 of 64

Item 4. Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

Name & Address % Owned

 

 

 

 

Item 5, Board Members

List all members of the corporation’s Board of Directors.

Name & Address % Owned Term (From/Until)

 

 

 

 

 

Item 6. Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

Name & Address % Owned

 

 

 

 

 

Page 3 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 93 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 48 of 64

Item 7. Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

Name & Address Business Activities % Owned

 

 

 

State which of these businesses, if any, has ever transacted business with the corporation

 

 

Item 8. Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

Individual’s Name Business Name & Address Business Activities % Owned

 

 

 

State which of these businesses, if any, have ever transacted business with the corporation

 

 

Item 9. Related Individuals
List all related individuals with whom the corporation has had any business transactions during the three previous fiscal

years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

Name and Address Relationship Business Activities

 

 

 

Page 4 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 94 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 49 of 64

Item 10. Outside Accountants

List all outside accountants retained by the corporation during the last three years.

Name Firm Name Address CPA/PA?

 

 

 

 

 

Item 11. Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

Name, Address, & Telephone Number Position(s) Held

 

 

 

 

Item 12. Attorneys

List all attorneys retained by the corporation during the last three years.

Name Firm Name Address

 

 

 

 

 

 

Page 5 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 95 of 111
Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 50 of 64

Item 13. Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Page 6 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 96 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 51 of 64

Item 14. Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address

 

Court’s Name & Address
Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

Court’s Name & Address

 

Docket No. Relief Requested Nature of Lawsuit

Status

 

Opposing Party’s Name & Address

 

 

 

 

 

 

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

Opposing Party’s Name & Address

Court’s Name & Address

Docket No. Relief Requested Nature of Lawsuit
Status

 

 

Page 7 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 97 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 52 of 64

Item 15. Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

 

 

 

Commencement Date Termination Date Docket No.
If State Court: Court & County If Federal Court: District
Disposition

Item 16. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name Name & Address of Depository Institution Box No.

 

 

 

 

 

FINANCIAL INFORMATION
REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17, Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

 

 

 

Federal/ Tax Year Tax Due Tax Paid Tax Due Tax Paid Preparer’s Name
State/Both Federal Federal State State
$ $ $ $
$ $ $ $
$ $ $ $

 

Page 8 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 98 of 111
Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 53 of 64

Item 18. Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

Year Balance Sheet Profit & Loss Statement Cash Flow Statement Changes in Owner’s Equity Audited?

 

 

 

 

Item 19. Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.

 

 

 

 

 

 

 

 

 

 

Current Year-to-Date 1 Year Ago 2 Years Ago 3 Years Ago
Gross Revenue $ $ $ $
Expenses $ $ $ $
Net Profit After Taxes $ $ $ $
Payables $
Receivables $
Item 20. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

 

 

 

 

 

Cash on Hand $ Cash Held for the Corporation’s Benefit $
Name & Address of Financial Institution Signator(s) on Account Account No. Current
TT Balance
$
$
$
$

 

Page 9 Initials
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 99 of 111
Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 54 of 64

Item 21. Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

 

 

 

 

Issuer Type of Security/Obligation

No. of Units Owned Current Fair Market Value $ Maturity Date
Issuer Type of Security/Obligation

No. of Units Owned Current Fair Market Value $ Maturity Date
Item 22. Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property Property’s Location

 

Name(s) on Title and Ownership Percentages

 

Current Value $ Loan or Account No.

 

Lender’s Name and Address

 

 

Current Balance On First Mortgage $ Monthly Payment $

Other Loan(s) (describe) Current Balance $
Monthly Payment $ Rental Unit? Monthly Rent Received $
Type of Property Property’s Location

 

 

Name(s) on Title and Ownership Percentages

Current Value $ Loan or Account No.

 

Lender’s Name and Address

 

 

Current Balance On First Mortgage $ Monthly Payment $
Other Loan(s) (describe) Current Balance $
Monthly Payment $ Rental Unit? Monthly Rent Received $

Page 10 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 100 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 55 of 64

Item 23. Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

 

 

 

 

 

 

 

 

 

Property Category Property Location Acquisition Current
Cost Value

$ $

$ $

$ $

$ $

$ $

$ $

$ $

$ $

$ $

Item 24. Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

Trustee or Escrow Agent’s Description and Location of Assets Present Market
Name & Address Value of Assets

Page 11 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 101 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 56 of 64

Item 25. Monetary Judgments and Settlements Owed To the Corporation
List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment Amount $

 

Opposing Party’s Name & Address

 

 

 

Court’s Name & Address Docket No.
Nature of Lawsuit Date of Judgment Amount $
Item 26. Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

Nature of Lawsuit Date Amount $

 

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment Amount $

 

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

 

Nature of Lawsuit Date of Judgment Amount $

 

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment Amount §

 

Opposing Party’s Name & Address

 

Court’s Name & Address Docket No.

Nature of Lawsuit Date of Judgment Amount $

 

Page 12 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 102 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 57 of 64

Item 27. Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

 

 

 

 

Name of Agency Contact Person

Address Telephone No.
Agreement Date Nature of Agreement

Item 28. Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

Name of Credit Card or Store Names of Authorized Users and Positions Held

 

 

 

 

 

Item 29. Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

 

 

 

 

Name/Position Current Fiscal 1 YearAgo 2 Years Ago Compensation or
Year-to-Date Type of Benefits

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

 

Page 13 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 103 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 58 of 64

Item 30. Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

 

 

 

 

 

 

 

 

Name/Position Current Fiscal 1 YearAgo 2 Years Ago Compensation or
Year-to-Date Type of Benefits

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

$ $ $

Item 31, Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 

 

 

 

 

 

 

Transferee’s Name, Address, & Relationship Property Aggregate Transfer Type of Transfer
Transferred Value Date (e.g., Loan, Gift)

$

$

$

$

$

 

Page 14 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 104 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 59 of 64

Item 32. Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

Item No. Document Description of Document
Relates To

 

 

 

 

 

 

 

 

 

I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

 

 

(Date) Signature

 

Corporate Position

Page 15 Initials
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 105 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 60 of 64

Attachment C
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 106 of 111
Case 2:20-cv-00047-DWL *SEALED* Document 21*SEALED* Filed 01/13/20 Page 61 of 64
-om 4506 Request for Copy of Tax Return

(July 2017) > Do not sign this form unless all applicable lines have been completed. OMB No. 1545-0429
> Request may be rejected if the form is incomplete or illegible.

Department of the Treasury . . -e .

Internal Revenue Service > For more information about Form 4506, visit www.irs.gov/form4506.

 

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946.

 

ta Name shown on tax return. If a joint return, enter the name shown first. 1b First social security number on tax return,
individual taxpayer identification number, or
employer identification number (see instructions)

 

2a Ifa joint return, enter spouse’s name shown on tax return. 2b Second social security number or individual
taxpayer identification number if joint tax return

 

 

3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)

 

4 Previous address shown on the last return filed if different from line 3 (see instructions)

 

5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.

 

Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. !f you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

 

6 Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
type of return, you must complete another Form 4506. >

 

Note: If the copies must be certified for court or administrative proceedings, checkhere. . . . . 2... ee ee OE

 

7 Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
eight years or periods, you must attach another Form 4506.

 

8 Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
or EIN and “Form 4506 request” on your check or money order.

 

 

a Costforeachretun . 2. 2 1 1 1 $ 50.00
b Number of returns requested on line 7 . Ce
c_ Totalcost. Multiply line 8abyline8b . 2. 2... wee $
9 If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, checkhere. . . . . []

 

Caution: Do not sign this form unless all applicable lines have been completed.

Signature of taxpayer(s). | declare that | am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, | certify that | have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.

(-] Signatory attests that he/she has read the attestation clause and upon so reading

 

 

declares that he/she has the authority to sign the Form 4506. See instructions. prone number of taxpayer on line
Sign ) Signature (see instructions) Date
Here

 

» Title (if line 1a above is a corporation, partnership, estate, or trust)

 

» Spouse’s signature Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2. Cat. No. 41721E Form 4506 (Rev. 7-2017)

 
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 107 of 111

Case 2:20-cv-00047-DWL *SEALED*

Form 4506 (Rev. 7-2017)

Section references are to the Internal Revenue Code
unless otherwise noted.

Future Developments

For the latest information about Form 4506 and its
instructions, go to www.irs.gov/form4506.
Information about any recent developments affecting
Form 4506, Form 4506-T and Form 4506T-EZ will be
posted on that page.

General Instructions

Caution: Do not sign this form unless all applicable
lines have been completed.

Purpose of form. Use Form 4506 to request a copy
of your tax return. You can also designate (on line 5)
a third party to receive the tax return.

How long will it take? It may take up to 75
calendar days for us to process your request.

Tip. Use Form 4506-T, Request for Transcript of Tax
Return, to request tax return transcripts, tax account
information, W-2 information, 1099 information,
verification of nonfiling, and records of account.

Automated transcript request. You can quickly
request transcripts by using our automated self-help
service tools Please visit us at IRS.gov and click on
“Get a Tax Transcript...” or call 1-800-908-9946.

Where to file. Attach payment and mail Form 4506
to the address below for the state you lived in, or the
state your business was in, when that return was
filed. There are two address charts: one for
individual returns (Form 1040 series) and one for all
other returns.

If you are requesting a return for more than one
year or period and the chart below shows two
different addresses, send your request to the
address based on the address of your most recent
return.

Chart for individual returns
(Form 1040 series)
If you filed an

individual return
and lived in:

Mail to:

 

Alabama, Kentucky,
Louisiana, Mississippi,
Tennessee, Texas, a
foreign country, American
Samoa, Puerto Rico,
Guam, the
Commonwealth of the
Northern Mariana Islands,
the U.S Virgin Islands, or
A.P.O. or F P.O. address

Internal Revenue Service
RAIVS Team

Stop 6716 AUSC
Austin, TX 73301

 

Alaska, Arizona,
Arkansas, California,
Colorado, Hawaii, Idaho,
Illinois, Indiana, lowa,

Kansas, Michigan,
Minnesota, Montana,
Nebraska, Nevada, New
Mexico, North Dakota,
Oklahoma, Oregon,
South Dakota, Utah,
Washington, Wisconsin,
Wyoming

Internal Revenue Service
RAIVS Team

Stop 37106

Fresno, CA 93888

 

Connecticut,

Delaware, District of
Columbia, Florida,
Georgia, Maine,
Maryland,
Massachusetts,
Missouri, New
Hampshire, New Jersey,
New York, North
Carolina, Ohio,
Pennsylvania, Rhode
Island, South Carolina,
Vermont, Virginia, West
Virginia

Internal Revenue Service
RAIVS Team

Stop 6705 P-6

Kansas City, MO

64999

 

Document 21 *SEALED*

Chart for all other returns

If you lived in
or your business
was in:

Mail to:

 

Alabama, Alaska,
Arizona, Arkansas,
California, Colorado,
Florida, Hawaii, Idaho,
lowa, Kansas, Louisiana,
Minnesota, Mississippi,
Missouri, Montana,
Nebraska, Nevada,
New Mexico,

North Dakota,
Oklahoma, Oregon,
South Dakota, Texas,
Utah, Washington,
Wyoming, a foreign
country, American
Samoa, Puerto Rico,
Guam, the
Commonwealth of the
Northern Mariana
Islands, the U.S. Virgin
Islands, or A.P O. or
F.P.O. address

Internal Revenue Service
RAIVS Team

P.O. Box 9941

Mail Stop 6734

Ogden, UT 84409

 

Connecticut, Delaware,
District of Columbia,
Georgia, Illinois, Indiana,
Kentucky, Maine,

Maryland,

Massachusetts, Internal Revenue Service
Michigan, New RAIVS Team
Hampshire, New Jersey, P.O. Box 145500

New York, North Stop 2800 F

Carolina,

Ohio, Pennsylvania,
Rhode Island, South
Carolina, Tennessee,
Vermont, Virginia, West
Virgina, Wisconsin

Cincinnati, OH 45250

 

Specific Instructions

Line 1b. Enter your employer identification number
(EIN) if you are requesting a copy of a business
return. Otherwise, enter the first social security
number (SSN) or your individual taxpayer
identification number (ITIN) shown on the return. For
example, if you are requesting Form 1040 that
includes Schedule C (Form 1040), enter your SSN.

Line 3. Enter your current address. If you use a P O
box, please include it on this line 3.

Line 4. Enter the address shown on the fast return
filed if different from the address entered on line 3

Note: If the addresses on lines 3 and 4 are different
and you have not changed your address with the
IRS, file Form 8822, Change of Address. For a
business address, file Form 8822-B, Change of
Address or Responsible Party — Business.

Signature and date. Form 4506 must be signed and
dated by the taxpayer listed on line 1a or 2a. The
IRS must receive Form 4506 within 120 days of the
date signed by the taxpayer or it will be rejected.
Ensure that all applicable lines are completed before
signing.

You must check the box in the
y\N Signature area to acknowledge you

have the authority to sign and request

Zit the information. The form will not be
processed and returned to you if the box is
unchecked.
individuals. Copies of jointly filed tax returns may

be furnished to either spouse. Only one signature is
required. Sign Form 4506 exactly as your name
appeared on the original return. lf you changed your
name, also sign your current name.

Filed 01/13/20 Page 62 of 64
Page 2

Corporations. Generally, Form 4506 can be
signed by: (1) an officer having legal authority to bind
the corporation, (2) any person designated by the
board of directors or other governing body, or (3)
any officer or employee on written request by any
principal officer and attested to by the secretary or
other officer. A bona fide shareholder of record
owning 1 percent or more of the outstanding stock
of the corporation may submit a Form 4506 but must
provide documentation to support the requester's
right to receive the information.

Partnerships. Generally, Form 4506 can be
signed by any person who was a member of the
partnership during any part of the tax period
requested on line 7.

All others. See section 6103(e) if the taxpayer has
died, is insolvent, ts a dissolved corporation, or if a
trustee, guardian, executor, receiver, or
administrator is acting for the taxpayer.

Note: If you are Heir at law, Next of kin, or
Beneficiary you must be able to establish a material
interest in the estate or trust.

Documentation. For entities other than individuals,
you must attach the authorization document. For
example, this could be the letter from the principal
officer authorizing an employee of the corporation or
the letters testamentary authorizing an individual to
act for an estate.

Signature by a representative. A representative
can sign Form 4506 for a taxpayer only if this
authority has been specifically delegated to the
representative on Form 2848, line 5. Form 2848
showing the delegation must be attached to Form
4506

 

Privacy Act and Paperwork Reduction Act
Notice. We ask for the information on this form to
establish your right to gain access to the requested
return(s) under the Internal Revenue Code. We need
this information to properly identify the return(s) and
respond to your request If you request a copy of a
tax return, sections 6103 and 6109 require you to
provide this information, including your SSN or EIN,
to process your request. If you do not provide this
information, we may not be able to process your
request. Providing false or fraudutent information
may subject you to penalties.

Routine uses of this information include giving It to
the Department of Justice for civil and criminal
litigation, and cities, states, the District of Columbia,
and U.S. commonwealths and possessions for use
in administering their tax laws. We may also
disclose this information to other countries under a
tax treaty, to federal and state agencies to enforce
federal nontax criminal laws, or to federal law
enforcement and intelligence agencies to combat
terrorism.

You are not required to provide the information
requested on a form that Is subject to the Paperwork
Reduction Act unless the form displays a valid OMB
control number. Books or records relating to a form
or its instructions must be retained as long as their
contents may become material in the administration
of any Internal Revenue law. Generally, tax returns
and return information are confidential, as required
by section 6103

The time needed to complete and file Form 4506
will vary depending on individual circumstances. The
estimated average time ts: Learning about the law
or the form, 10 min.; Preparing the form, 16 min.,
and Copying, assembling, and sending the form
to the IRS, 20 min.

If you have comments concerning the accuracy of
these time estimates or suggestions for making
Form 4506 simpler, we would be happy to hear from
you. You can write to:

Internal Revenue Service

Tax Forms and Publications Division
1111 Constitution Ave. NW, IR-6526
Washington, DC 20224.

Do not send the form to this address. Instead, see
Where to file on this page.
Case 1:20-mc-00005 Document 1 Filed 01/17/20 USDC Colorado Page 108 of 111 ©

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 63 of 64

Attachment D
Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 109 of 111

Case 2:20-cv-00047-DWL *SEALED* Document 21 *SEALED* Filed 01/13/20 Page 64 of 64

CONSENT TO RELEASE FINANCIAL RECORDS

I, of , (City,
State), do hereby direct any bank, saving and loan association, credit union,
depository institution, finance company, commercial lending company, credit card
processor, credit card processing entity, automated clearing house, network
transaction processor, bank debit processing entity, automated clearing house,
network transaction processor, bank debit processing entity, brokerage house,
escrow agent, money market or mutual fund, title company, commodity trading
company, trustee, or person that holds, controls, or maintains custody of assets,
wherever located, that are owned or controlled by me or at which there is an
account of any kind upon which I am authorized to draw, and its officers,
employees, and agents, to disclose all information and deliver copies of all
documents of every nature in its possession or control which relate to the said
accounts to any attorney of the Federal Trade Commission, and to give evidence
relevant thereto, in the matter of [ ], now pending in the United States
District Court of [ ], and this shall be irrevocable authority for so doing.

This direction is intended to apply to the laws of countries other than the
United States of America which restrict or prohibit disclosure of bank or other
financial information without the consent of the holder of the account, and shall be
construed as consent with respect hereto, and the same shall apply to any of the
accounts for which I may be a relevant principal.

Dated: Signature:

 

Printed Name:

 
 

 

 

Case 1:20-mc-00005 Document1 Filed 01/17/20 USDC Colorado Page 110 of 111

 

Warren J. Stapleton

 

 

\

O S B O iN N wstapleton@omlaw com Direct Lane 602 640.9354
2929 North Central Avenuc Telephone — 602 640 9000
21st Floor Facstmilc 602 640 9050
Phoens, Anzona 85012 omlaw.com

January 16, 2020
Via FEDERAL EXPRESS

Court Clerk

USS. District Court, District of Colorado
Alfred A. Arraj U.S. Courthouse

901 19" Street

Denver, CO 80294-3589

Re: Federal Trade Commission v. James Noland, Success by Media, LLC, et al., Case
No. CV 20-00047-PHX-DWL, United States District Court, District of Arizona

Dear Mr./Madame Clerk:

Enclosed please find Kimberly Friday, the Temporary Receiver (the “Receiver”), notice pursuant
to 28 U.S.C. § 754 of the receivership created under the Arizona District Court’s Temporary Restraining
Order (“TRO”) entered in the above-captioned matter on January 13, 2020. It is my understanding that
this notice needs to be filed with the Court within 10 days of the Receiver’s appointment — no later than
January 23, 2020 (although it may be January 27, 2020 as the statute predates the civil rules’ changes
regarding calculation of time). It is my further understanding that clerk’s offices typically deal with these
notices by creating a miscellaneous matter, with a new civil matter number, and filing the notice in that
proceeding.

Please feel free to call if you have any questions.

Sone

Warren J. Sta Se

WSJS:pln
ce: Kimberly Friday
——

 

 

Tl
PRGNDZSYA (ano) ean.9} 16
2 PEGGY NETO (072 0.
o 3020 NORTH CENTRAL ave
a 21ST FLOOR
& PHOEND. A2 aso1p

© COURT CLERK
U.S. DISTRICT COURT

 

As, i
901 19TH STREET a

 

   

Py ; FRI- 17 JAN 10-30A
rae 74 oeae 0554 PRIORITY OVERNIGHT
° ee cee AE gl

f 111
Page 1110

nt 1 Filed 01/17/20 USDC Colorado

05 - Docume

QBFA cous DEN

     

“Case 1:20-mc

hy
